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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                             Debtor.                                 )
                                                                     )

                     NOTICE OF FILING OF REVISED CREDITORS’ PLAN
                             AND CONFIRMATION HEARING

        PLEASE TAKE NOTICE that on January 22, 2024, the Official Committee of Unsecured
Creditors (the “Committee”) appointed in the above captioned chapter 11 case (the “Jones Case”),
the Connecticut Plaintiffs,1 and the Texas Plaintiffs2 (collectively, the “Creditor Plan Proponents”)
filed the Creditors’ Non-Uniform Individual Chapter 11 Plan of Liquidation for Alexander E. Jones
[ECF No. 562] (as may be amended, the “Creditors’ Plan”).

       PLEASE TAKE FURTHER NOTICE that on January 22, 2024, the Creditor Plan
Proponents filed the Specific Disclosure Statement for the Creditors’ Non-Uniform Individual
Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No. 563] (as may be amended, the
“Specific Disclosure Statement”).

        PLEASE TAKE FURTHER NOTICE that on January 25, 2024, the United States
Bankruptcy Court for the Southern District of Texas (the “Court”) entered the Order (I) Approving
the Disclosure Statement on a Conditional Basis; (II) Approving the Solicitation Procedures; (III)
Approving the Form of Ballot and Opt-Out Form; and (IV) Approving Certain Dates and Deadline
in Connection with Solicitation of the Creditors’ Plan [ECF No. 578], conditionally approving the
Specific Disclosure Statement for use by the Creditor Plan Proponents in soliciting acceptances or
rejections of the Creditors’ Plan.

        PLEASE TAKE FURTHER NOTICE THAT on January 29, 2024, the Creditor Plan
Proponents filed the Notice of Filing of Solicitation Version of the Specific Disclosure Statement
for the Creditors’ Non-Uniform Chapter 11 Plan of Liquidation for Alexander E. Jones [ECF No.
587], attached to which was the solicitation version of the Creditors’ Plan.

     PLEASE TAKE FURTHER NOTICE THAT on February 2, 2024, counsel to the
Committee filed the Affidavit of Service of Solicitation Materials [ECF No. 596] indicating that

1
  The “Connecticut Plaintiffs” are (i) David Wheeler; (ii) Francine Wheeler; (iii) Mark Barden; (iv) Jacqueline Barden;
(v) Nicole Hockley; (vi) Ian Hockley; (vii) Jennifer Hensel; (viii) Donna Soto; (ix) Carlee Soto-Parisi; (x) Carlos M.
Soto; (xi) Jillian Soto Marino; (xii) William Aldenberg; (xiii) William Sherlach; (xiv) Robert Parker; and (xv) Erica
Ash.
2
  The “Texas Plaintiffs” are: (i) Neil Heslin; (ii) Scarlett Lewis; (iii) Leonard Pozner; (iv) Veronique De La Rosa; and
(v) the Estate of Marcel Fontaine.
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the solicitation versions of the Creditors’ Plan and Specific Disclosure Statement had been served
as provided therein.

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised
version of the Creditors’ Plan (“Revised Creditors’ Plan”), reflecting changes in response to
informal comments received from the United States Trustee and various informal discussions with
parties in interest. Attached hereto as Exhibit B is a blackline of the revised Creditors’ Plan
marked against the solicitation version of the Creditors’ Plan filed on January 29, 2024.

        PLEASE TAKE FURTHER NOTICE that all objections to confirmation of the
Creditors’ Plan must be filed and served no later than June 7, 2024, and all replies to such
objections must be filed and served no later than June 12, 2024, on which date the Creditor Plan
Proponents shall also file a memorandum of law in support of confirmation of the Creditors’ Plan
and any supporting declarations.

        PLEASE TAKE FURTHER NOTICE that, as authorized by the Court during the status
hearing held on May 21, 2024 and consistent with the Second Amended Agreed Scheduling Order
for Confirmation [ECF No. 624], a hearing to consider final approval of the confirmation of the
Creditors’ Plan will be held on June 14, 2024, at 10:00 a.m. CST (the “Confirmation Hearing”),
before the Honorable Christopher M. Lopez, United States Bankruptcy Judge, United States
Bankruptcy Court for the Southern District of Texas, Houston Division, Courtroom 404, 515 Rusk
Street, Houston, Texas 77002.

       PLEASE TAKE FURTHER NOTICE that this hearing will be conducted in person, by
telephone, and by remote video conference. Parties wishing to present evidence must appear in
person. Parties wishing to participate in the hearing telephonically may do so by dialing (832)-
917-1510 and entering conference code 590153 when prompted. Parties may also participate via
remote video conference by going to https://www.gotomeet.me/JudgeLopez and clicking the “join
the meeting button. Audio connections by phone are required for all video participants.

        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made
electronically in advance of the hearing. To make your appearance, click the “Electronic
Appearance” link on Judge Lopez’s homepage. Select the case name, complete the required fields
and click “Submit” to complete your appearance.

                     [The remainder of this page is left blank intentionally.]




                                                2
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Dated: May 24, 2024


/s/ Marty L. Brimmage, Jr.                        /s/ Ryan E. Chapple
AKIN GUMP STRAUSS HAUER & FELD LLP                CAIN & SKARNULIS PLLC
Marty L. Brimmage, Jr.                            Ryan E. Chapple
Texas Bar No. 00793386                            State Bar No. 24036354
2300 N. Field Street, Suite 1800                  303 Colorado Street, Suite 2850
Dallas, Texas 75201                               Austin, TX 78701
Telephone: (214) 969-2800                         Telephone: (512) 477-5000
Fax: (214) 969-4343                               Fax: (512) 477-5011
E-mail: mbrimmage@akingump.com                    E-mail: rchapple@cstrial.com

-and-                                             KOSKOFF KOSKOFF & BIEDER, PC
                                                  Alinor C. Sterling (admitted pro hac vice)
David M. Zensky (admitted pro hac vice)           350 Fairfield Avenue
Sara L. Brauner (admitted pro hac vice)           Bridgeport, CT 06604
Katherine Porter (admitted pro hac vice)          Telephone: (203) 336-4421
Anna Kordas (admitted pro hac vice)               E-mail: asterling@koskoff.com
Melanie A. Miller (admitted pro hac vice)
One Bryant Park                                PAUL, WEISS, RIFKIND,
New York, NY 10036                             WHARTON & GARRISON LLP
Telephone: (212) 872-1000                      Kyle J. Kimpler (admitted pro hac vice)
Fax: (212) 872-1002                            Leslie E. Liberman (admitted pro hac vice)
E-mail: dzensky@akingump.com                   Vida Robinson (admitted pro hac vice)
E-mail: sbrauner@akingump.com                  1285 Avenue of the Americas
E-mail: kporter@akingump.com                   New York, NY 10019-6064
E-mail: akordas@akingump.com                   Telephone: (212) 373-3000
E-mail: melanie.miller@akingump.com            Fax: (212) 757-3990
                                               E-mail: kkimpler@paulweiss.com
Counsel to the Official Committee of Unsecured E-mail: lliberman@paulweiss.com
Creditors of Alexander E. Jones                E-mail: virobinson@paulweiss.com

                                                  Co-Counsel to the Connecticut Plaintiffs




                                            3
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/s/ Avi Moshenberg
LAWSON & MOSHENBERG PLLC
Avi Moshenberg
State Bar No. 24083532
801 Travis Street, Suite 2101, #838
Houston, TX 77002
Telephone: (713) 449-9644
E-mail: avi.Moshenberg@lmbusinesslaw.com

CHAMBERLAIN, HRDLICKA,
WHITE, WILLIAMS & AUGHTRY, PC
Jarrod B. Martin
State Bar No. 24070221
1200 Smith Street, Suite 1400
Houston, TX 77002
Telephone: (713) 356-1280
Fax: (713) 658-2553
E-mail: jarrod.martin@chamberlainlaw.com

WILLKIE FARR & GALLAGHER LLP
Jennifer J. Hardy
State Bar No. 24096068
600 Travis Street
Houston, TX 77002
Telephone: (713) 510-1766
Fax: (713) 510-1799
E-mail: jhardy2@willkie.com

WILLKIE FARR & GALLAGHER LLP
Rachel C. Strickland (admitted pro hac vice)
Stuart R. Lombardi (admitted pro hac vice)
Ciara A. Sisco (admitted pro hac vice)
787 Seventh Avenue
New York, NY 10019
Telephone: (212) 728-8000
Fax: (212) 728-8111
E-mail: rstrickland@willkie.com
E-mail: slombardi@willkie.com
E-mail: csisco@willkie.com

Co-Counsel to the Texas Plaintiffs




                                               4
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                                CERTIFICATE OF SERVICE

        I certify that on May 24, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.
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                            Exhibit A
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                               )
In re:                                         ) Chapter 11
                                               )
ALEXANDER E. JONES,                            ) Case No. 22-33553 (CML)
                                               )
                     Debtor.                   )
                                               )

                   CREDITORS’ NON-UNIFORM INDIVIDUAL
          CHAPTER 11 PLAN OF LIQUIDATION FOR ALEXANDER E. JONES

/s/ Marty L. Brimmage, Jr.                     /s/ Ryan E. Chapple
AKIN GUMP STRAUSS HAUER & FELD LLP             CAIN & SKARNULIS PLLC
Marty L. Brimmage, Jr.                         Ryan E. Chapple
Texas Bar No. 00793386                         State Bar No. 24036354
2300 N. Field Street, Suite 1800               303 Colorado Street, Suite 2850
Dallas, Texas 75201                            Austin, TX 78701
Telephone: (214) 969-2800                      Telephone: (512) 477-5000
Fax: (214) 969-4343                            Fax: (512) 477-5011
E-mail: mbrimmage@akingump.com                 E-mail: rchapple@cstrial.com

-and-                                          KOSKOFF KOSKOFF & BIEDER, PC
                                               Alinor C. Sterling (admitted pro hac vice)
David M. Zensky (admitted pro hac vice)        350 Fairfield Avenue
Sara L. Brauner (admitted pro hac vice)        Bridgeport, CT 06604
Katherine Porter (admitted pro hac vice)       Telephone: (203) 336-4421
Anna Kordas (admitted pro hac vice)            E-mail: asterling@koskoff.com
Melanie A. Miller (admitted pro hac vice)
One Bryant Park                                PAUL, WEISS, RIFKIND, WHARTON &
New York, NY 10036                             GARRISON LLP
Telephone: (212) 872-1000                      Kyle J. Kimpler (admitted pro hac vice)
Fax: (212) 872-1002                            Leslie E. Liberman (admitted pro hac vice)
E-mail: dzensky@akingump.com                   Vida Robinson (admitted pro hac vice)
E-mail: sbrauner@akingump.com                  1285 Avenue of the Americas
E-mail: kporter@akingump.com                   New York, NY 10019-6064
E-mail: akordas@akingump.com                   Telephone: (212) 373-3000
E-mail: melanie.miller@akingump.com            Fax: (212) 757-3990
                                               E-mail: kkimpler@paulweiss.com
Counsel to the Official Committee of Unsecured E-mail: lliberman@paulweiss.com
Creditors of Alexander E. Jones                E-mail: virobinson@paulweiss.com

                                               Co-Counsel to the Connecticut Plaintiffs
      Case 22-33553 Document 679 Filed in TXSB on 05/24/24 Page 8 of 84




/s/ Avi Moshenberg
LAWSON & MOSHENBERG PLLC
Avi Moshenberg
State Bar No. 24083532
801 Travis Street, Suite 2101, #838
Houston, TX 77002
Telephone: (713) 449-9644
E-mail: avi.moshenberg@lmbusinesslaw.com

CHAMBERLAIN, HRDLICKA,
WHITE, WILLIAMS & AUGHTRY, PC
Jarrod B. Martin
State Bar No. 24070221
1200 Smith Street, Suite 1400
Houston, TX 77002
Telephone: (713) 356-1280
Fax: (713) 658-2553
E-mail: jarrod.martin@chamberlainlaw.com

WILLKIE FARR & GALLAGHER LLP
Jennifer J. Hardy
State Bar No. 24096068
600 Travis Street
Houston, TX 77002
Telephone: (713) 510-1766
Fax: (713) 510-1799
E-mail: jhardy2@willkie.com

WILLKIE FARR & GALLAGHER LLP
Rachel C. Strickland (admitted pro hac vice)
Stuart R. Lombardi (admitted pro hac vice)
Ciara A. Sisco (admitted pro hac vice)
787 Seventh Avenue
New York, NY 10019
Telephone: (212) 728-8000
Fax: (212) 728-8111
E-mail: rstrickland@willkie.com
E-mail: slombardi@willkie.com
E-mail: csisco@willkie.com

Co-Counsel to the Texas Plaintiffs

Dated: May 24, 2024
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                                        INTRODUCTION

       The UCC and the Sandy Hook Families propose the following Plan pursuant to the
provisions of chapter 11 of the Bankruptcy Code. For the avoidance of doubt, other than as
disclosed in the Specific Disclosure Statement, the Confirmation of the Plan does not necessarily
determine the outcome of the FSS Case or impair FSS’s ability to prosecute the FSS Plan and
perform thereunder if confirmed.

                                          ARTICLE I.
                                         DEFINITIONS

   A. Defined Terms

       As used in the Plan, capitalized terms shall have the meanings set forth below.

       1.      “Administrative Claim” means a Claim for which a holder asserts and is
determined to be entitled to priority for costs and expenses of administration of the Debtor’s estate
pursuant to sections 503 and 507(a)(1) of the Bankruptcy Code.

       2.     “Affiliate” means an “affiliate” as defined by section 101(2) of the
Bankruptcy Code, and shall include with respect to Jones, without limitation, A. Emric
Productions LLC, AEJ Austin Holdings LLC, AEJ Holdings, LLC, Austin Shiprock Publishing,
LLC, Emric Productions, Free Speech Systems, LLC, Guadalupe County Land and Water LLC,
Info W, LLC, IWHealth, LLC, Jones Productions, Jones Productions, LLC, Jones Report, LLC,
JLJR Holdings LLC, Magnolia Management LLC, Magnolia Management, LP, Magnolia
Holdings Limited Partnership, Magnolia Limited Partnership, Planet Infowars, LLC, PLJR
Holdings LLC, Prison Planet TV, LLC, PQPR Holdings Limited LLC, RCGJ, LLC, and the
Jones Trusts.

         3.     “Allowed” or “Allowed Amount” means, when used with respect to a Claim
(including any Administrative Claim), or any portion thereof, a Claim or any portion thereof: (a)
that is allowed under the Plan, by Final Order, or pursuant to a settlement; (b) that is evidenced by
a Proof of Claim timely Filed by the applicable Bar Date or a request for payment of an
Administrative Claim Filed by the Administrative Claims Bar Date, as applicable (or that is not
required to be evidenced by a Filed Proof of Claim under the Plan, the Bankruptcy Code, or a Final
Order) or (c) that is scheduled by the Debtor as not disputed, contingent, or unliquidated, and for
which no Proof of Claim has been timely Filed; provided that, with respect to a Claim described
in clauses (b) and (c) above, such Claim shall be considered Allowed only if and to the extent that
such Claim is not Disallowed and no objection to the allowance of such Claim is interposed within
the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or
the Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by a
Final Order.

       4.     “Bar Date” means the dates established by the Bankruptcy Court or otherwise
provided for by the Bankruptcy Code, the Bankruptcy Rules, or the Plan by which any Proof of
Claim must be Filed with respect to such Claims; provided that there shall be no applicable Bar
Date for Claims for which the Plan excludes from the requirement of Filing Proofs of Claim.
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       5.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
1532, as now in effect or hereafter amended.

        6.     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division.

       7.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Case, promulgated under section 2075 of the Judicial Code and the
general, local, and chambers rules of the Bankruptcy Court.

        8.     “Business Day” means any day, other than a Saturday, Sunday, “legal holiday”
(as defined in Bankruptcy Rule 9006(a)(6)), or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the state of Texas.

        9.      “Cash” means cash and cash equivalents, including bank deposits, checks, and
other similar items in legal tender of the United States of America.

        10.     “Causes of Action” means, collectively, any and all actions, claims, cross claims,
third-party claims, interests, damages, controversies, remedies, causes of action, debts, judgments,
demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly
or derivatively, matured or unmatured, suspected or unsuspected, disputed or undisputed, whether
arising before, on, or after the Petition Date, in contract, tort, law, equity, or pursuant to any other
theory of law or otherwise. Causes of Action also include: (a) any rights of setoff, counterclaim,
or recoupment and any claims under contracts or for breaches of duties imposed by law or in
equity; (b) the right to object to or otherwise contest Claims; (c) claims pursuant to sections 362,
510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; (d) any claims or defenses,
including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code; and (e) any state law fraudulent transfer claim.

      11.    “Chapter 11 Case” means the above-captioned case filed under chapter 11 of the
Bankruptcy Code.

      12.    “Claim” means any “claim,” as such term is defined in section 101(5) of the
Bankruptcy Code, against the Debtor or the Debtor’s Estate.

       13.     “Claimant” means the holder of a Claim.

        14.     “Claims Objection Bar Date” means the deadline for filing objections to requests
for payment of Claims, which shall be the later of (a) ninety (90) days after the Effective Date and
(b) ninety (90) days after the Filing of the applicable Claim.

       15.     “Clerk” means the “bankruptcy clerk” as defined by Bankruptcy Rule 9001.




                                                   2
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       16.   “Confirmation” means the entry by the Bankruptcy Court of the Confirmation
Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy Rules 5003
and 9021.

       17.    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy
Rules 5003 and 9021.

       18.     “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan under section 1129 of the Bankruptcy Code.

        19.    “Cure Amount” shall have the meaning ascribed to such term in Article VIII.C of
the Plan.

       20.     “David Jones” means Jones’s father, Dr. David Jones.

       21.    “Debtor” means Jones, the debtor in the above-captioned Chapter 11 Case. For the
avoidance of doubt, Debtor shall also refer to the Debtor as reorganized on or after the Effective
Date in accordance with the Plan.

        22.     “Disallowed” means (a) any Claim, or any portion thereof, that has been disallowed
by Final Order or settlement, as provided in the Plan or the Confirmation Order; (b) any Claim or
interest, or any portion thereof, that is not scheduled or that is scheduled at zero or as contingent,
disputed, or unliquidated and as to which a Bar Date has been established but no Proof of Claim
has been timely Filed or deemed timely Filed with the Bankruptcy Court pursuant to the
Bankruptcy Code, the Bankruptcy Rules, a Final Order of the Bankruptcy Court, or otherwise
deemed timely Filed under applicable law; or (c) any Claim, or any portion thereof, that is
not Allowed.

         23.    “Disputed” means, with respect to a Claim, any such Claim, or any portion thereof,
(a) to the extent neither Allowed nor Disallowed under the Plan or a Final Order, or (b) for which
a Proof of Claim or a motion for payment has been timely filed with the Bankruptcy Court, to the
extent the Debtor or any other party in interest has interposed a timely objection or request for
estimation in accordance with the Plan, the Bankruptcy Code, or the Bankruptcy Rules, which
objection or request for estimation has not been withdrawn or determined by Final Order. To the
extent only the Allowed amount of a Claim is disputed, such Claim shall be Allowed in the amount
not disputed, if any, and Disputed as to the balance of such Claim.

        24.     “Effective Date” means the first Business Day after the Confirmation Date on
which (a) all conditions to the occurrence of the Effective Date have been satisfied or waived
pursuant to Article XI of the Plan; (b) no stay of the Confirmation Order is in effect; and (c) the
UCC and the Sandy Hook Families, in consultation with the Debtor, file a notice of the occurrence
of the Effective Date.

       25.     “Entity” means an “entity” as defined by section 101(15) of the Bankruptcy Code.

       26.     “Erika Jones” means Jones’s wife, Erika Wulff Jones.



                                                  3
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       27.     “Estate” means the estate created by sections 301 and 541 of the Bankruptcy Code
upon the commencement of the Chapter 11 Case and all property (as defined in section 541 of the
Bankruptcy Code, including any Causes of Action) acquired by the Debtor after the Petition Date
through the Effective Date.

        28.    “Executory Contract” means a contract to which the Debtor is a party and that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

        29.     “Exempt Assets” are all of the Debtor’s assets that are exempt pursuant to section
1123(c) of the Bankruptcy Code, as included on the Exempt Asset Schedule, which shall be subject
to resolution of any challenge to the exempt status of any asset.

       30.     “Exempt Asset Schedule” is the schedule enumerating all Exempt Assets.

        31.   “Exculpated Parties” means collectively, and in each case, solely in its capacity as
such, the UCC and each of its members.

       32.     “Filed” means filed with the Bankruptcy Court in the Chapter 11 Case.

        33.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court,
or court of competent jurisdiction with respect to the subject matter, that has not been reversed,
stayed, modified, or amended, as entered on the docket in this Chapter 11 Case or the docket of
any court of competent jurisdiction, and as to which the time to appeal, or seek certiorari or move
for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any
appeal that has been taken or any petition for certiorari that has been or may be timely Filed has
been withdrawn or resolved by the highest court to which the order or judgment was appealed or
from which certiorari was sought or the new trial, reargument, or rehearing will have been denied,
resulted in no stay pending appeal of such order, or has otherwise been dismissed with prejudice;
provided that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order will
not preclude such order from being a Final Order.

       34.     “FSS” means Free Speech Systems, LLC.

       35.    “FSS Case” means the bankruptcy case of FSS, Case No. 22-60043 (CML),
pending before the Bankruptcy Court.

       36.     “FSS Plan” means the Debtor’s First Amended Plan of Reorganization Under
Subchapter V of the Bankruptcy Code, filed at Docket No. 756 in the FSS Case (as may be altered,
amended, modified, or supplemented from time to time in accordance with the terms thereof) or
any other plan filed in the FSS Case.

        37.    “General Unsecured Claim” means any Claim other than a Secured Claim,
Priority Claim, Other Priority Claim, or Subordinated Claim.

       38.     “GUC Election Cash Pool” means an amount in Cash of $50,000.00.



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        39.    “GUC Trust” shall have the meaning ascribed to such term in Article IV.A of the
Plan.

       40.    “GUC Trust Agreement” means the agreement establishing and describing the
GUC Trust, which shall be submitted in connection with the Plan Supplement and shall be in form
and substance acceptable to the UCC and the Sandy Hook Families, in consultation with the
Debtor.

        41.     “GUC Trust Assets” means (a) all Jones’s assets, rights, and claims that are
property of the Estate and are not Exempt Assets, whether owned by Jones directly, indirectly, or
otherwise held for the benefit of Jones existing as of the Effective Date, in each case whether
presently known or discovered at any time by the GUC Trustee, and including, but not limited to,
Cash, any tax refund to which Jones is entitled as of the Effective Date (whether or not such refund
is immediately available to Jones as of the Effective Date), 100% of Jones’s equity ownership
interests in FSS, Jones’s full, direct or indirect ownership interests in PQPR, all assets held in the
Jones Trusts, any current contractual right existing as of the Effective Date entitling Jones to future
royalties or other similar revenue, and any defensive appellate rights, (b) the Litigation Assets, and
(c) once all Professional Fee Claims have been irrevocably paid in full or Disallowed pursuant to
one or more Final Orders of the Bankruptcy Court, any remaining Cash held in the Professional
Fee Escrow Account. For the avoidance of doubt, GUC Trust Assets do not include post-Effective
Date income or acquired assets of the Debtor.

        42.    “GUC Trust Interests” means interests in the GUC Trust.

        43.    “GUC Trustee” shall have the meaning ascribed to such term in Article IV.B of the
Plan.

       44.    “Impaired” means, with respect to any class of Claims, a class of Claims that is
“impaired” as defined by section 1124 of the Bankruptcy Code.

      45.    “Insider” means an “insider” as defined by section 101(31) of the
Bankruptcy Code.

      46.       “Internal Revenue Code” means the U.S. Internal Revenue Code of 1986, as
amended.

       47.    “Jones” means Alexander E. Jones, the Debtor in the above-captioned
Chapter 11 Case.

        48.    “Jones Transfer Obligation” shall have the meaning ascribed to such term in
Article VI.B of the Plan.

       49.    “Jones Trusts” shall mean the Recharge Dynasty Trust, the 2022 Litigation
Settlement Trust, the RXXCTTGAA Trust, the Green Leaf Trust, the AEJ 2018 Trust, the
Missouri779384 Trust, and the Alexander E. Jones Descendent and Beneficiary Trust.

        50.    “Lien” means a “lien” as defined by section 101(37) of the Bankruptcy Code.



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        51.    “Litigation Assets” are those litigation-related assets and Causes of Action to be
vested in the GUC Trust, as described in Article IV.E of the Plan.

        52.    “Litigation Committee” shall have the meaning ascribed to such term in
Article IV.B of the Plan.

        53.     “Nondischargeable Claims” means any and all claims against the Debtor arising
out of the following proceedings that have not been dismissed: (a) Heslin v. Jones, Cause No. D-
1-GN-18-001835, in the 261st District Court of Travis County, Texas; (b) Pozner, et al. v. Jones,
Case No. D-1-GN-001842, in the Judicial District Court of Travis County, Texas; (c) Lafferty v.
Jones, et al., Case No. UWY-CV18-6046436-S, in the Judicial District of Waterbury of the
Connecticut Superior Court; (d) Sherlach v. Jones, et al., Case No. UWY-CV18-6046437-S, in
the Judicial District of Waterbury of the Connecticut Superior Court; and (e) Sherlach v. Jones, et
al., Case No. UWY-CV18-6046438-S, in the Judicial District of Waterbury of the Connecticut
Superior Court, in each case, to the extent such claims were determined to be nondischargeable by
the Nondischargeability Decisions or by any other Final Order.

       54.   “Nondischargeability Decisions” means, collectively: (i) the Memorandum
Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones, Adv. Pro. No.
23-03037 [Docket No. 76]; and (ii) the Memorandum Decision on Texas Plaintiffs’ Motion for
Summary Judgment Against Jones, Adv. Pro. No. 23-03035 [Docket No. 46].

       55.    “Objection Deadline” means the deadline to object to confirmation of the Plan, as
the same may be extended from time to time.

        56.  “Other Priority Claim” means any Claim other than an Administrative Claim or a
Priority Tax Claim entitled to priority in right of payment under section 507(a) of the
Bankruptcy Code, including any Priority DSO Claim.

       57.    “Petition Date” means December 2, 2022, the date on which Jones commenced the
Chapter 11 Case.

       58.     “Plan” means this Creditors’ Non-Uniform Individual Chapter 11 Plan of
Liquidation for Alexander E. Jones, proposed by the UCC and the Sandy Hook Families, as it may
be amended, modified, and/or supplemented from time to time.

       59.    “Plan Documents” means the Plan, the Plan Supplement, the Confirmation Order
and other documents related to the Plan and Confirmation of the Plan.

       60.      “Plan Supplement” means the compilation of documents and forms of documents,
term sheets, agreements, schedules, and exhibits to the Plan (or draft forms thereof, in each case,
as may be altered, amended, modified, or supplemented from time to time in accordance with the
terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules), and any
additional documents Filed prior to the Effective Date as amendments to the Plan Supplement,
each of which shall be acceptable to the UCC and the Sandy Hook Families, in consultation with
the Debtor. The Plan Supplement may include the following (including drafts or forms, as
applicable), or the material terms of the following, as applicable: (a) GUC Trust Agreement; (b)
the Schedule of Assumed Executory Contracts and Unexpired Leases; (c) the Exempt Asset


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Schedule; (d) the Schedule of Preserved Causes of Action; and (e) any other necessary
documentation related to implementation of the Plan.

       61.     “Premarital Agreement” is the agreement by and between Jones and Erika Jones,
dated as of December 18, 2016.

       62.     “Priority Claim” means an Administrative Claim, a Priority Tax Claim, or a
Professional Fee Claim.

        63.    “Priority Claims Bar Date” means the deadline for filing requests for payment of
Priority Claims, which shall be thirty (30) days after the Effective Date.

        64.    “Priority DSO Claim” means an Allowed Claim for prepetition domestic support
obligations that is entitled to priority under section 507(a)(1) of the Bankruptcy Code.

        65.      “Priority Tax Claim” means a Claim for which the holder asserts and is determined
to be entitled to priority under section 507(a)(7) of the Bankruptcy Code.

       66.    “Professional” means an Entity retained pursuant to a Bankruptcy Court order in
accordance with section 327 or 1103 of the Bankruptcy Code and to be compensated for services
rendered and expenses incurred pursuant to sections 327, 328, 329, 330, 331, and 363 of the
Bankruptcy Code.

       67.     “Professional Fee Claim” means a Claim by a Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3),
503(b)(4), or 503(b)(5) of the Bankruptcy Code to the extent such fees and expenses have not been
previously paid.

       68.    “Professional Fee Escrow Account” means an interest-bearing account funded by
the Debtor with Cash on or before the Effective Date in an amount equal to the Professional Fee
Escrow Amount.

       69.    “Professional Fee Escrow Amount” means the total amount of Professional Fee
Claims estimated pursuant to Article II.B.3 of the Plan.

       70.   “Protective Order” means the Stipulated Confidentiality Agreement and Protective
Order [Docket No. 159].

       71.    “Proof of Claim” means a written proof of claim Filed against the Debtor in the
Chapter 11 Case by the applicable Bar Date.

       72.     “PQPR” means PQPR Holdings Limited LLC.

        73.     “Released Parties” means, collectively, and in each case, solely in its capacity as
such: (a) the Sandy Hook Families; (b) the immediate family members of the Sandy Hook
Families; (c) the UCC; (d) with respect to each of the foregoing (a)-(c), such Entities’ respective
current and former Affiliates, and such Entities’ and their current and former Affiliates’ current


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and former successors, assigns, employees, agents, financial advisors, and attorneys, including,
among others, (i) counsel to the Sandy Hook Families, (ii) counsel to the UCC, and (iii) advisors
to the Sandy Hook Families and/or the UCC, including accountants, financial advisors,
representatives, and other Professionals, each strictly in their capacity as such; (e) members of
Jones’s family that are legally minors as of the Effective Date; and (f) any Insider or Affiliate of
Jones that has made, or has caused to be made, a Release Settlement Payment; provided, that any
entity that would otherwise be a “Released Party” that votes to reject the Plan, objects to the Plan,
or objects to or opts out of the releases contained in Article X of the Plan, shall not be a “Released
Party.”

        74.      “Releasing Parties” means (a) the UCC; (b) the Sandy Hook Families; (c) any
Insider or Affiliate of Jones that has made, or has caused to be made, a Release Settlement
Payment; and (d) all holders of Claims, Interests, or Causes of Action that (i) vote to accept the
Plan or (ii) are Unimpaired and do not timely opt out of or file an objection to the releases contained
in Article X of the Plan that is not resolved before Confirmation.

       75.    “Release Settlement Payment” means a payment to the GUC Trust of an amount
of Cash acceptable to (a) prior to the Effective Date, the UCC, and (b) after the Effective Date, the
GUC Trustee, as determined in accordance with the GUC Trust Agreement, on account of any
Trust Cause of Action against any Insider or Affiliate of Jones.

       76.     “Sandy Hook Families” means Mark Barden, Jacqueline Barden, Francine
Wheeler, David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg,
William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert
Parker, Erica Ash (aka Erica Lafferty), Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique
De La Rosa, and Marcel Fontaine.

       77.     “Sandy Hook Family Claims” means any Claim for which a Proof of Claim has
been Filed in the Chapter 11 Case by or on behalf of any member of the Sandy Hook Families,
which Claims shall be Allowed in the amounts set forth on Schedule 1 of the Plan.

         78.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means the
list of Executory Contracts and Unexpired Leases that will be assumed by the Debtor pursuant to
the Plan as of the Effective Date, which list shall be included in the Plan Supplement.

        79.    “Schedules and Statements” means, collectively, the Schedules of Assets and
Liabilities [Docket No. 161], the Statement of Financial Affairs [Docket No. 162], the First
Amended Schedules of Assets and Liabilities [Docket No. 231], the First Amended Statement of
Financial Affairs [Docket No. 232], the Attachment to Schedule A/B [Docket No. 233], the
Attachment to Statement of Financial Affairs [Docket No. 234], the Second Amended Schedules of
Assets and Liabilities [Docket No. 242], the Second Amended Statement of Financial Affairs
[Docket No. 243], the Third Amended Schedules of Assets and Liabilities [Docket No. 501] and
the Third Amended Statement of Financial Affairs [Docket No. 502], as may be amended and
supplemented from time to time.

       80.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the
applicable Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to



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applicable law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in such
Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, as
determined pursuant to section 506(a) of the Bankruptcy Code; or (b) otherwise Allowed pursuant
to the Plan as a Secured Claim; provided that no Claim asserted by any Insider or Affiliate of the
Debtor shall be a Secured Claim.

        81.     “Specific Disclosure Statement” means the Creditors’ Specific Disclosure
Statement as Filed or amended, including all exhibits and schedules attached thereto and references
therein that relate to the Plan, that is prepared and distributed in accordance with the Bankruptcy
Code, the Bankruptcy Rules, and any other applicable law and approved by the Bankruptcy Court
pursuant to section 1125 of the Bankruptcy Code.

       82.     “Subordinated Claim” means a Claim subject to subordination pursuant to
sections 509(c) and/or 510(c) of the Bankruptcy Code, or any other provision of the Bankruptcy
Code or applicable law subordinating such claim to any General Unsecured Claim.

        83.    “Trust Causes of Action” shall have the meaning ascribed to such term in
Article IV.E.2 of the Plan.

       84.    “UCC” means the Official Committee of Unsecured Creditors in this Chapter 11
Case, appointed pursuant to Docket No. 42.

      85.     “Unexpired Lease” means a lease to which the Debtor is a party that is subject to
assumption or rejection under section 365 or section 1123 of the Bankruptcy Code.

       86.    “Unimpaired” means, with respect to a class of Claims, a class of Claims that is
not Impaired.

       87.    “United States” means the United States of America, inclusive of its agencies and
sub-agencies.

        88.    “U.S. Trustee” means the Office of the United States Trustee for the Southern
District of Texas.

   B. Rules of Interpretation

       For purposes of the Plan:

        1.     in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and the neuter gender;

        2.     any reference herein to a contract, lease, instrument, release, indenture, or other
agreement or document being in a particular form or on particular terms and conditions means that
the referenced document shall be substantially in that form or substantially on those terms and
conditions;



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        3.     any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may
thereafter be amended, restated, supplemented, or otherwise modified;

       4.      any reference to an Entity as a holder of a Claim includes that Entity’s successors
and assigns;

        5.      unless otherwise specified, all references herein to “Articles” are references to
Articles of the Plan;

        6.       unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan;

        7.       subject to the provisions of any contract, certificate of incorporation, bylaw,
instrument, release, or other agreement or document entered into in connection with the Plan, the
rights and obligations arising pursuant to the Plan shall be governed by, and construed and enforced
in accordance with, applicable federal law, including the Bankruptcy Code and the Bankruptcy
Rules, or, if no rule of law or procedure is supplied by federal law (including the Bankruptcy Code
and the Bankruptcy Rules) or otherwise specifically stated, the laws of the State of Texas, without
giving effect to the principles of conflict of laws;

        8.     captions and headings to Articles are inserted for convenience of reference only and
are not intended to be a part of or to affect the interpretation of the Plan;

        9.    unless otherwise specified herein, the rules of construction set forth in section 102
of the Bankruptcy Code shall apply;

       10.      all references to docket numbers of documents Filed in this Chapter 11 Case are
references to the docket numbers under the Bankruptcy Court’s CM/ECF system;

       11.    all references to statutes, regulations, orders, rules of courts, and the like shall mean
as amended from time to time, and as applicable to this Chapter 11 Case, unless otherwise stated;

        12.    all references herein to consent, acceptance, or approval shall be deemed to include
the requirement that such consent, acceptance, or approval be evidenced by a writing, which may
be conveyed by counsel for the respective parties, or, if applicable, the GUC Trustee, that have
such consent, acceptance, or approval rights, including by electronic mail;

        13.    any term used in capitalized form herein that is not otherwise defined but that is
used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term
in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; and

       14.     the words “include” and “including,” and variations thereof, shall not be deemed to
be terms of limitation, and shall be deemed to be followed by the words “without limitation.”




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   C. Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.

   D. Reference to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

   E. Controlling Document

        In the event of an inconsistency between the Plan and the Specific Disclosure Statement,
the terms of the Plan shall control in all respects. In the event of an inconsistency between the
Confirmation Order and the Plan, the Confirmation Order shall control.

                               ARTICLE II.
              ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

   A. Administrative Claims.

         To the extent that Administrative Claims have not been paid in full or otherwise satisfied
during this Chapter 11 Case, each holder of an Allowed Administrative Claim will receive in full
and final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount
of the unpaid portion of such Allowed Administrative Claim in accordance with the following:
(a) if such Administrative Claim is Allowed prior to the Effective Date, on the Effective Date or
in the ordinary course of business, whichever is later; or (b) if such Administrative Claim is not
Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order
Allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter. Any objection to an Administrative Claim must be Filed by the Priority Claims
Objection Bar Date.

HOLDERS OF ADMINISTRATIVE CLAIMS THAT ARE REQUIRED TO FILE AND
SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE CLAIMS THAT
DO NOT FILE AND SERVE SUCH A REQUEST BY THE PRIORITY CLAIMS BAR
DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH ADMINISTRATIVE CLAIMS AGAINST THE DEBTOR, THE
ESTATE OR THE PROPERTY OF ANY OF THE FOREGOING, AND SUCH
ADMINISTRATIVE CLAIMS SHALL BE DEEMED DISCHARGED AS OF THE
EFFECTIVE DATE WITHOUT THE NEED FOR ANY OBJECTION FROM THE
DEBTOR OR ANY NOTICE TO OR ACTION, ORDER OR APPROVAL OF THE
BANKRUPTCY COURT OR ANY OTHER ENTITY.




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   B. Professional Fee Claims.

       1.      Final Professional Fee Applications and Payment of Professional Fee Claims.

        All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred through and including the Effective Date must be Filed no
later than the Priority Claims Bar Date. The Bankruptcy Court shall determine the Allowed
Amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Code and the Bankruptcy Rules. Jones shall pay to the
Professionals the amount of the Allowed Professional Fee Claims owing to such Professionals in
Cash, including from funds held in the Professional Fee Escrow Account, as soon as reasonably
practicable after such Professional Fee Claims are Allowed by entry of a Final Order of the
Bankruptcy Court. Any objection to a Professional Fee Claim must be Filed by the Priority Claims
Objection Bar Date.

       2.      Professional Fee Escrow Account.

        As soon as is reasonably practicable after the Confirmation Date and no later than the
Effective Date, the Debtor shall establish and fund the Professional Fee Escrow Account with Cash
equal to the Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be
maintained in trust solely for the Professionals and for no other Entities until all Professional Fee
Claims Allowed by the Bankruptcy Court have been irrevocably paid in full to the Professionals
pursuant to one or more Final Orders of the Bankruptcy Court. No Liens or Claims shall encumber
the Professional Fee Escrow Account or Cash held therein. Funds held in the Professional Fee
Escrow Account shall not be considered property of the Estate or the Debtor.

        Distributions to holders of Professional Fee Claims shall be made in accordance with
Article VI.A.1 of the Plan. When all Professional Fee Claims Allowed by the Bankruptcy Court
have been irrevocably paid in full to the Professionals or Disallowed pursuant to one or more Final
Orders of the Bankruptcy Court, any remaining funds held in the Professional Fee Escrow Account
shall promptly be paid to the GUC Trust without any further notice to or action, order, or approval
of the Bankruptcy Court or any other Entity.

       3.      Professional Fee Escrow Amount.

        The Professionals shall provide a reasonable and good-faith estimate of their unpaid
Professional Fee Claims incurred in rendering services to the Debtor and Estate before and as of
the Effective Date projected to be outstanding as of the Effective Date, and shall deliver such
estimate to the Debtor and the UCC no later than five (5) days before the anticipated Effective
Date; provided, however, that such estimate shall not be considered or deemed an admission or
limitation with respect to the amount of the fees and expenses that are the subject of the
Professional’s final request for payment of Professional Fee Claims and such Professionals are not
bound to any extent by the estimates. If a Professional does not provide an estimate, the Debtor,
in consultation with the UCC, may estimate the unpaid and unbilled fees and expenses of such
Professional. The total aggregate amount so estimated as of the Effective Date shall be used by
the Debtor to determine the amount to be funded to the Professional Fee Escrow Account.




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   C. Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, in full and final satisfaction, compromise, settlement, release, and discharge
of, and in exchange for, each Allowed Priority Tax Claim, each holder of such Allowed Priority
Tax Claim shall receive treatment in a manner consistent with section 1129(a)(9)(C) of the
Bankruptcy Code.

                                ARTICLE III.
                   TREATMENT AND CLASSIFICATION OF CLAIMS

   A. Classification of Claims

       All Claims against the Debtor of whatever nature, whether or not scheduled, liquidated or
unliquidated, absolute or contingent, or arising from the rejection or assumption of an Executory
Contract and/or Unexpired Lease, whether resulting in a Claim that is Allowed or not, shall be
bound by the provisions of the Plan. The Claims are hereby classified as follows:

    Class              Claim/Interest                 Status                Voting Rights
      1        Secured Claims                     Unimpaired         Not entitled to vote
                                                                     (presumed to accept)
      2        Other Priority Claims              Unimpaired         Not entitled to vote
                                                                     (presumed to accept)
      3        General Unsecured Claims           Impaired           Entitled to vote
      4        Subordinated Claims                Impaired           Not entitled to vote
                                                                     (deemed to reject)

   B. Treatment of Claims

      Holders of Claims classified in Article III.A that are Allowed shall be satisfied in the
manner set forth below.

       1.      Class 1 – Secured Claims.

               a. Classification. Class 1 consists of all Secured Claims.

               b. Treatment. At the election of the UCC and the Sandy Hook Families, in
                  consultation with the Debtor, each holder of a Secured Claim that is Allowed
                  shall receive (i) payment in full in Cash on account of such holder’s Allowed
                  Secured Claim or (ii) affirmation of the Debtor’s obligations on such holder’s
                  Allowed Claim.

               c. Voting. Class 1 is Unimpaired under the Plan. Holders of Secured Claims are
                  conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                  the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept
                  or reject the Plan.




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      d. Claimants. There are two Class 1 Claimants, (i) the Security Bank of
         Crawford, which has Filed a Proof of Claim in the amount of $80,161.04 (Claim
         No. 2) and (ii) Bank of America, N.A., which has Filed a Proof of Claim in the
         amount of $26,354.73 (Claim No. 22).

2.    Class 2 – Other Priority Claims.

      a. Classification. Class 2 consists of all Other Priority Claims.

      b. Treatment. Each holder of an Other Priority Claim that is Allowed shall
         receive payment in full in Cash on account of such holder’s Allowed Other
         Priority Claim.

      c. Voting. Class 2 is Unimpaired under the Plan. Holders of Other Priority
         Claims are conclusively presumed to have accepted the Plan pursuant to section
         1126(f) of the Bankruptcy Code. Therefore, such holders are not entitled to
         vote to accept or reject the Plan.

      d. Claimants. Class 2 Claimants include one holder of a Priority DSO Claim,
         including the Priority DSO Claim identified at item 4.12 in the Schedules and
         Statements. Class 2 Claimants shall also include any other holders of Other
         Priority Claims.

3.    Class 3 – General Unsecured Claims.

      a. Classification. Class 3 consists of all General Unsecured Claims.

      b. Treatment. Each holder of a General Unsecured Claim that is Allowed shall
         be entitled to receive, at such holder’s election, which election shall occur no
         later than thirty (30) days after the Effective Date: (i) the holder’s pro rata share
         of the GUC Election Cash Pool, such pro rata share to be calculated based on
         the total amount of Allowed General Unsecured Claims held by holders that
         make such election, or (ii) the holder’s pro rata share of the GUC Trust
         Interests, such pro rata share to be calculated based on the aggregate amount of
         Allowed General Unsecured Claims that make such election. For the avoidance
         of doubt, however, any holder of a General Unsecured Claim that has waived
         that holder’s Claim is not entitled to such pro rata share under this
         Article III.B.3.b, and each holder of an Allowed General Unsecured Claim shall
         not be entitled to receive more than the Allowed amount of such Claim pursuant
         to the Plan.

      c. Voting. Class 3 is Impaired under the Plan. Holders of General Unsecured
         Claims are entitled to vote to accept or reject the Plan.

      d. Claimants. At present, there are twenty-three Class 3 Claims: (i) twenty-one
         Class 3 Claims Filed by or on behalf of individuals comprising the Sandy Hook
         Families which shall be Allowed in the amounts set forth on Schedule 1 of the
         Plan; (ii) one Class 3 Claim held by Reeves Law, PLLC, which has Filed a


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                   Proof of Claim in the amount of $24,611.13 (Claim No. 5); and (iii) one Class
                   3 Claim held by the City of Austin, which has Filed a Proof of Claim in the
                   amount of $86.60 (Claim No. 3). However, additional Claims may be Allowed
                   General Unsecured Claims if filed by the applicable Bar Date or other time
                   period provided for by the Plan or an order of the Bankruptcy Court, and
                   otherwise Allowed.

       4.      Class 4 – Subordinated Claims.

               a. Classification. Class 4 consists of all Subordinated Claims.

               b. Treatment. Holders of Subordinated Claims, regardless of whether such
                  claims are Allowed, are not entitled to any distributions or to receive or retain
                  any property under the Plan.

               c. Voting. Class 4 is Impaired under the Plan. Holders of Subordinated Claims
                  are conclusively deemed to have rejected the Plan pursuant to section 1126(g)
                  of the Bankruptcy Code. Therefore, such holders are not entitled to vote to
                  accept or reject the Plan.

               d. Claimants. At present, there is one Class 4 Claimant, FSS, which has Filed a
                  Proof of Claim in the amount of $0.00 (Claim No. 26). However, additional
                  Claims may be Subordinated Claims if filed by the applicable Bar Date or other
                  time period provided for by the Plan, and otherwise Allowed.

                                        ARTICLE IV.
                                       THE GUC TRUST

   A. The GUC Trust

        On or before the Effective Date, a trust shall be established for the benefit of holders of
General Unsecured Claims that elect to receive GUC Trust Interests (the “GUC Trust”). The GUC
Trust shall be governed and administered in accordance with the GUC Trust Agreement, which
sets forth, inter alia, the powers, authority, responsibilities, and duties of the GUC Trustee.

        The purpose of the GUC Trust shall be the liquidation and administration of the GUC Trust
Assets and making distributions to holders of GUC Trust Interests in accordance with the terms of
the Plan and the GUC Trust Agreement.

   B. The GUC Trustee

        The GUC Trust shall be administered by a trustee who shall be chosen by the Sandy Hook
Families, in consultation with the Debtor and the UCC, in accordance with the GUC Trust
Agreement (the “GUC Trustee”). On or before the Effective Date, the GUC Trustee, on behalf of
the Debtor, shall execute the GUC Trust Agreement and shall take all other steps necessary to
establish the GUC Trust pursuant to the GUC Trust Agreement and consistent with the Plan. For
the avoidance of doubt, if, for any reason the individual or entity chosen to serve as the GUC
Trustee shall need to be replaced, the Sandy Hook Families shall appoint a subsequent GUC


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Trustee unless otherwise provided by the GUC Trust Agreement. The GUC Trust Agreement shall
establish an oversight committee (the “Litigation Committee”) consisting of members of the
Sandy Hook Families appointed in accordance with the terms of the GUC Trust Agreement to
oversee performance of the GUC Trustee’s duties with respect to the GUC Trust Assets and
otherwise serve the functions to be described in the Plan and the GUC Trust Agreement.

        The GUC Trustee shall be responsible for all decisions and duties with respect to the GUC
Trust Assets, subject to the authority granted to it under the Plan, the Confirmation Order, and the
GUC Trust Agreement, as applicable, and shall file with the Bankruptcy Court periodic public
reports on the status of claims reconciliation and distributions, which reports may be included in
the quarterly reporting required by the U.S. Trustee. In addition, the GUC Trustee shall issue
quarterly written reports and engage in update calls upon reasonable request with representatives
of the Debtor and Sandy Hook Families.

        The GUC Trustee shall owe fiduciary duties to all holders of GUC Trust Interests
consistent with the fiduciary duties a member of an official committee appointed pursuant to
section 1102 of the Bankruptcy Code owes to its constituents, and the Litigation Committee must
consent to any proposed material action, including any settlement in respect of any action, by the
GUC Trustee in accordance with the terms of the GUC Trust Agreement.

   C. Assignments

        On the Effective Date, the Nondischargeable Claims will be assigned to the GUC Trust to
the extent set forth in the GUC Trust Agreement.

   D. GUC Trust Assets

        On the Effective Date, all GUC Trust Assets to the extent available will vest in the GUC
Trust. For the avoidance of doubt, the Exempt Assets will not vest in the GUC Trust. Any portion
of the GUC Election Cash Pool that is not distributed to holders of General Unsecured Claims that
elect to receive their pro rata share of the GUC Election Cash Pool shall vest, on the Effective
Date or as soon as reasonably practicable thereafter, in the GUC Trust for the benefit of holders of
General Unsecured Claims that elect to receive GUC Trust Interests. The GUC Trust Interests
shall only be transferrable in the sole discretion of the GUC Trustee in accordance with the terms
of the GUC Trust Agreement.

        Under section 1141(b) of the Bankruptcy Code, the GUC Trust Assets shall be assigned,
transferred, and vest in the GUC Trust upon the occurrence of the Effective Date, free and clear of
all Claims, Liens, encumbrances, and interests; provided, however, that the GUC Trustee may
abandon or otherwise not accept any assets that the GUC Trustee believes, in good faith, to have
no value to, or will be unduly burdensome to, the GUC Trust in accordance with the terms of the
GUC Trust Agreement. Any assets that the GUC Trustee so abandons (whether before or after the
Effective Date) or otherwise does not accept shall not be GUC Trust Assets, and ownership thereof
shall revert to the prior owner; provided, further, that to the extent the Nondischargeability
Decisions are overturned, the ability of the GUC Trustee or the Sandy Hook Families, as
applicable, to pursue the Nondischargeable Claims shall be limited accordingly. The rights of each




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of the Debtor, the Texas Plaintiffs, the Connecticut Plaintiffs and the GUC Trustee are expressly
preserved with respect to the Nondischargeability Decisions and any appeals thereof.

   E. Litigation Assets

       The following assets constitute “Litigation Assets” and will vest in the GUC Trust and be
administered by the GUC Trustee in accordance with the terms described herein and in the GUC
Trust Agreement:

        1.     Initial Litigation Funding. A total of $500,000 in Cash, which shall be funded by
Jones’s Estate to the GUC Trust for administrative expenses in connection with administering the
Litigation Assets; provided that the source and manner of funding shall be acceptable to the GUC
Trustee; provided, further, that a portion of the proceeds from liquidation of the Litigation Assets
may be retained by the GUC Trustee in its discretion as continued funding for administration of
the Litigation Assets.

        2.     Trust Causes of Action. All Causes of Action (a) belonging to Jones’s Estate
(including those belonging to the Jones Trusts, or seeking to recover assets from a trust otherwise
believed to constitute property of the Estate), whether or not initially asserted prior to
Confirmation, including, but not limited to, any estate claims or causes of action against or related
to Jones, any Insider or Affiliate of Jones and the claims and Causes of Action listed on the
Schedule of Preserved Causes of Action included in the Plan Supplement, and (b) to the extent
property of the Debtor’s estate, the Texas State Court fraudulent conveyance action filed by Neil
Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine previously
removed and then transferred to the Bankruptcy Court (together, such Causes of Action, the “Trust
Causes of Action”).

     3.      Release Settlement Payments. All Release Settlement Payments made to the
GUC Trust shall immediately vest in the GUC Trust upon payment.

        4.      Books & Records. Jones shall provide access to a database containing books and
records related to prepetition transfer of Estate assets and related Causes of Action in his
possession, custody or control, including all documents, communications, and information of
Jones, any Jones Trusts, and any entities owned or controlled by Jones, including such documents,
communications, and information protected by the attorney-client privilege, the work-product
privilege, or any other applicable evidentiary privileges pertaining in any way to the Litigation
Assets consistent with the transfer of Privileges under this Plan. All discovery obtained by the
UCC during the Chapter 11 Case shall be transferred by the UCC to the GUC Trust, regardless of
the original confidentiality designation. In addition, any analysis performed by the UCC during
the Chapter 11 Case may be transferred by the UCC to the GUC Trust, as appropriate.

        5.      Investigative Powers. The GUC Trust and the GUC Trustee will retain the right
to conduct any discovery related to the acts, conduct, or property, or to the liabilities and financial
condition of Jones, or to any matter which may affect the administration of Jones’s Estate or any
Trust Causes of Action, or to Jones’s right to a discharge, under Bankruptcy Rule 2004, to the full
extent that such powers were available prior to the Effective Date. Notwithstanding the foregoing,
the Debtor’s professionals reserve the right to seek reasonable fees and expenses from the GUC


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Trust for time spent on discovery to the extent that it is duplicative of work performed by the
Debtor during the Chapter 11 Case and the GUC Trust reserves the right to challenge any such
request. For the avoidance of doubt, the Bankruptcy Court shall retain jurisdiction to decide all
such requests and/or challenges.

       6.      Privileges. All privileges in respect of the Trust Causes of Action, including the
attorney-client privilege, held by Jones shall transfer to the GUC Trust to the fullest extent
permitted under applicable law; provided, however, that privileges related to the litigation of the
Nondischargeability Decisions, including any appeals thereof, shall not transfer to the GUC Trust.

   F. Confidentiality

        The GUC Trustee shall be deemed a party to the Protective Order and shall be permitted
to receive Discovery Material, Confidential Material, and Professionals’ Eyes Only Material (each
as defined in the Protective Order) in accordance with the terms thereof.

   G. Tax Treatment of GUC Trust Under Applicable Laws

        The GUC Trust is intended to be treated, and shall be reported, as a “qualified settlement
fund” within the meaning of section 468B of the Internal Revenue Code and Treasury Regulations
section 1.468B-1 for U.S. federal income tax purposes and shall be treated consistently for state
and local tax purposes to the extent applicable. The GUC Trustee shall be the “administrator” of
the GUC Trust within the meaning of Treasury Regulations section 1.468B-2(k)(3).
Notwithstanding the foregoing provisions of this Article IV.G, (a) the GUC Trust shall be
implemented with the objective of maximizing tax efficiency to the holders of GUC Trust Interests
and (b) to the extent that the GUC Trust is not expected to be treated as a “qualified settlement
fund” under applicable law or in the event of a final determination under section 1313(a) of the
Internal Revenue Code that the GUC Trust does not qualify as a “qualified settlement fund,” the
holders of GUC Trust Interests and the GUC Trustee intend that the GUC Trust be treated as a
partnership, liquidating trust, or other tax-efficient entity for U.S. federal income tax purposes and
will take all actions reasonably necessary to cause the GUC Trust to be treated as such a partnership
or other tax-efficient entity.

        The GUC Trustee shall be responsible for filing all tax returns of the GUC Trust and the
payment, out of the assets of the GUC Trust in accordance with the GUC Trust Agreement, of any
taxes due by or imposed on the GUC Trust. The GUC Trustee may request an expedited
determination of taxes under section 505(b) of the Bankruptcy Code for all tax returns filed by or
on behalf of the GUC Trust for all taxable periods through the dissolution thereof. Nothing in this
Article IV.G shall be deemed to determine, expand, or contract the jurisdiction of the Bankruptcy
Court under section 505 of the Bankruptcy Code.

   H. Transferability and Certain Securities Law Matters

        Unless the GUC Trust Agreement expressly provides otherwise, any and all GUC Trust
Interests shall be non-transferable other than if transferred by will, intestate succession, or
otherwise by operation of law. In addition, any and all GUC Trust Interests will not be registered
pursuant to the Securities Act or any applicable state or local securities law pursuant to section



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1145 of the Bankruptcy Code, and will be exempt from the Investment Company Act of 1940, as
amended, pursuant to sections 7(a) and 7(b) of that Act and section 1145 of the Bankruptcy Code.

   I. Retention of Professionals

        The GUC Trustee, upon consultation with the UCC prior to the Effective Date, may enter
into employment agreements and retain professionals, including any necessary accountants,
attorneys, financial advisors, or other consultants, in furtherance of the administration of the assets
of the GUC Trust, without further order of the Bankruptcy Court.

                                  ARTICLE V.
                    TREATMENT OF NONDISCHARGEABLE CLAIMS

        The Plan will not discharge any Nondischargeable Claim and the rights of the Sandy Hook
Families, acting through the GUC Trust or otherwise, to exercise all rights, remedies, and other
legal entitlements, whether arising under state, federal, or foreign law, with respect to the
Nondischargeable Claims are expressly preserved and nothing to the contrary in the Plan will limit,
affect, or otherwise impact such rights; provided that no individual holder of any Sandy Hook
Family Claim shall be entitled to receive more than the aggregate Allowed amount of such
Holder’s Sandy Hook Family Claim on account of such Claims pursuant to the Plan.

                                      ARTICLE VI.
                               MEANS OF IMPLEMENTATION

       The Plan will be implemented in accordance with the following provisions:

   A. Plan Distributions

      1.      Distributions to holders of Allowed Priority Claims. Distributions to holders of
Allowed Priority Claims will be made as follows:

               a. Professional Fee Claims. The amount of Professional Fee Claims owing to the
                  Professionals shall be paid in Cash to the applicable Professionals from the
                  funds held in the Professional Fee Escrow Account as soon as reasonably
                  practicable after such Professional Fee Claims are Allowed by a Final Order of
                  the Bankruptcy Court. To the extent the funds held in the Professional Fee
                  Escrow Account are insufficient to satisfy the Allowed Amount of Professional
                  Fee Claims owing to the Professionals, such Professionals shall have an
                  Allowed Administrative Claim for any such deficiency, which shall be satisfied
                  by the GUC Trustee in Cash once Allowed or as soon as reasonably practicable
                  thereafter.

               b. Priority Tax Claims and Administrative Claims. Holders of Allowed Priority
                  Tax Claims and Allowed Administrative Claims shall receive Cash, which shall
                  be satisfied by the GUC Trustee once Allowed or as soon as reasonably
                  practicable thereafter.




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       2.      Distributions to holders of Allowed Secured Claims. To the extent applicable,
holders of Allowed Secured Claims shall receive Cash, which shall be satisfied once Allowed or
as soon as reasonably practicable thereafter.

        3.     Distributions to holders of Other Priority Claims. Holders of Allowed Other
Priority Claims shall receive Cash, which shall be satisfied by the GUC Trustee once Allowed or
as soon as reasonably practicable thereafter.

       4.      Distributions to holders of Allowed General Unsecured Claims. Holders of
Allowed General Unsecured Claims shall receive, at their election, either (a) satisfaction of their
pro rata share of the General Unsecured Claim Cash Pool in full in Cash on the Effective Date, or
as soon as reasonably practicable thereafter, or (b) their pro rata share of GUC Trust Interests in
accordance with the provisions of Article III and Article IV herein.

   B. Jones Transfer Obligation

         Jones shall take all necessary actions required to vest the GUC Trust Assets in the GUC
Trust, including cooperating in good faith with the GUC Trustee, the UCC, and the Sandy Hook
Families, as applicable, with respect to requests for facts and information concerning Jones’s
assets, rights, claims, interests, and/or Causes of Action (including prepetition transfers that could
give rise to Causes of Action) that may constitute GUC Trust Assets (the “Jones Transfer
Obligation”). The Jones Transfer Obligation begins on the Confirmation Date and must be
completed in full no later than 30 (thirty) days after the Confirmation Date or by such later date as
may be agreed to by the Sandy Hook Families and the GUC Trustee prior to such deadline;
provided that, following such deadline, Jones shall be required to cooperate in good faith with the
GUC Trustee, the UCC, and the Sandy Hook Families, as applicable, with respect to requests for
facts and information concerning Jones’s assets, rights, claims, interests, and/or Causes of Action
(including prepetition transfers that could give rise to Causes of Action) that may constitute GUC
Trust Assets. To the extent that Jones fails or refuses to comply with the Jones Transfer Obligation,
including through the omission of material information, the Sandy Hook Families, the GUC
Trustee, and/or the UCC may petition the Bankruptcy Court to enforce the Jones Transfer
Obligation pursuant to section 1142(b) of the Bankruptcy Code, any other provision of the
Bankruptcy Code, or applicable non-bankruptcy law or to seek any other appropriate remedies
under the Bankruptcy Code or applicable non-bankruptcy law.

   C. Additional Obligations

       Jones shall cooperate in good faith with the Sandy Hook Families, the UCC, the GUC
Trustee, and their respective representatives, in carrying out the terms of the Plan, including by
responding timely to reasonable discovery requests in connection with actions by the GUC Trustee
and cooperating in pursuing and obtaining any tax refund, royalty, or other similar revenue to
which Jones or the GUC Trust is entitled to as of the Effective Date.

      Prior to the Effective Date, Jones shall also provide reasonable notice to the UCC in
advance of the formation and/or incorporation of any trust or other entity on his behalf, or from




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which he expects to potentially receive distributions, dividends, or other payments, or in which he
owns a direct or indirect beneficial interest.

   D. Premarital Agreement

      The GUC Trustee shall have the right to challenge the Premarital Agreement and any
payments or transfers made thereunder as of the Effective Date for the benefit of the GUC Trust.

   E. Dissolution of Statutory Committees and Cessation of Fee and Expense Payment

        On the Effective Date, any statutory committee appointed in this Chapter 11 Case shall
dissolve automatically and the members thereof shall be released and discharged from all rights
and duties arising from, or related to, this Chapter 11 Case, except that the UCC will stay in
existence solely for the limited purposes of (a) receiving payment for its fees and expenses,
including filing and prosecuting final fee applications of UCC Professionals and (b) participating
in any appeals of the Confirmation Order. The Debtor, the Estate, and the GUC Trust shall not be
responsible for paying any fees or expenses incurred by any statutory committee appointed in this
Chapter 11 Case after the Effective Date.

   F. Filing Reports and Payment of Statutory Fees


        Prior to the Effective Date, Jones shall file with the Bankruptcy Court monthly reports in
a form reasonably acceptable to the U.S. Trustee. On and after the Effective Date, the GUC
Trustee shall file with the Bankruptcy Court quarterly reports in a form reasonably acceptable to
the U.S. Trustee. All fees payable pursuant to section 1930(a) of the Judicial Code, including fees
and expenses payable to the U.S. Trustee, as determined by the Bankruptcy Court at a hearing
pursuant to section 1128 of the Bankruptcy Code, will be paid by Jones for fees accruing prior to
the Effective Date and by the GUC Trustee for fees accruing following the Effective Date for each
quarter (including any fraction thereof) until this Chapter 11 Case is converted, dismissed, or
closed, whichever occurs first.


                                  ARTICLE VII.
                         PROCEDURES FOR DISPUTED CLAIMS

   A. Objections to Prepetition Claims

        As of the Effective Date, objections to, and requests for estimation of, Claims against the
Debtor may only be interposed and prosecuted by the GUC Trustee. Such objections and requests
for estimation shall be served and filed on or before the Claims Objection Bar Date.

   B. Allowance of Claims

       After the Effective Date, the GUC Trustee shall have and shall retain any rights and
defenses that the Debtor had with respect to any Claim, except with respect to any Claim deemed
Allowed under the Plan or Allowed by Final Order prior to the Effective Date. Except as expressly
provided in the Plan or in any order entered in the Chapter 11 Case prior to the Effective Date,


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including the Confirmation Order, no Claim shall become an Allowed Claim unless and until such
Claim is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including the Confirmation Order, in the Chapter 11 Case allowing such
Claim.

   C. Estimation of Claims

        The GUC Trustee may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether any party in interest previously objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim, as determined
by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount
of such Claim, the GUC Trustee may pursue supplementary proceedings to object to the Allowance
of such Claim. All of the aforementioned objection, estimation, and resolution procedures are
intended to be cumulative and not exclusive of one another. Claims may be estimated and
subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

   D. No Distributions Pending Allowance

       No payment or distribution provided under the Plan shall be made on account of a Disputed
Claim unless and until such Disputed Claim becomes an Allowed Claim.

   E. Resolution of Claims

        Except as otherwise provided herein (including the release provisions hereof) or in the
GUC Trust Agreement, Confirmation Order, or in any contract, instrument, release, or other
agreement or document entered into in connection with the Plan, in accordance with
section 1123(b) of the Bankruptcy Code, on and after the Effective Date, the GUC Trustee may
enforce, sue on, settle, or compromise (or decline to do any of the foregoing) all Claims, Disputed
Claims, rights, Causes of Action, suits and proceedings, whether in law or in equity, whether
known or unknown, that the GUC Trustee may hold against any person, and any contract,
instrument, release, indenture, or other agreement entered into in connection herewith. The GUC
Trustee may pursue any retained Claims, rights, Causes of Action, suits, or proceedings, as
appropriate, in accordance with the Plan and the GUC Trust Agreement.

   F. Retained Amounts

        The GUC Trustee shall withhold and retain from distribution (a) an amount sufficient to
pay holders of Disputed Claims the amount such holders would be entitled to receive under the
Plan if such Claims were to become Allowed Claims, (b) such lesser amount as estimated by the
Bankruptcy Court, or (c) such lesser amount as agreed to between the GUC Trustee and the holders
thereof. As Disputed Claims are resolved pursuant to Article VII hereof, the GUC Trustee shall
make distributions on account of such Disputed Claims as if such Disputed Claims were Allowed
Claims as of the Effective Date. Such Distributions shall be made on the first Distribution Date



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that is at least forty-five (45) days after the date on which a Disputed Claim becomes an Allowed
Claim, or on an earlier date selected by the GUC Trustee in its sole discretion.

   G. Late Filed Claims

        Except as otherwise provided herein or as agreed by the GUC Trustee, any Proof of Claim
filed after the Bar Date with respect to such Claim shall be deemed Disallowed and expunged as
of the Effective Date without any further notice to or action, order, or approval of the Bankruptcy
Court, and holders of such Claims may not receive any distributions on account of such Claims,
unless such late Proof of Claim has been deemed timely filed by a Final Order.

   H. Amendments to Claims

        A Claim may not be filed, amended, or supplemented without the prior written
authorization of the Bankruptcy Court or the GUC Trustee, and any such new, amended, or
supplemented Claim filed shall be deemed Disallowed in full and expunged without any further
notice to or action, order, or approval of the Bankruptcy Court to the maximum extent permitted
by applicable law.

                               ARTICLE VIII.
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   A. Rejection of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan or in any contract,
instrument, release, indenture, or other agreement or document entered into in connection with the
Plan, all Executory Contracts and Unexpired Leases shall be deemed rejected, without the need
for any further notice to or action, order, or approval of the Bankruptcy Court, as of the Effective
Date under section 365 of the Bankruptcy Code, and regardless of whether or not such Executory
Contract or Unexpired Lease is identified on the Schedule of Rejected Executory Contracts and
Unexpired Leases, unless such Executory Contract or Unexpired Lease: (a) was previously
assumed or rejected by the Debtor, pursuant to a Final Order of the Bankruptcy Court;
(b) previously expired or terminated pursuant to its own terms or by agreement of the parties
thereto; (c) is the subject of a motion to assume, assume and assign, or reject filed by the Debtor
on or before the date of entry of the Confirmation Order; or (d) with the consent of the UCC, is
specifically designated as a contract or lease to be assumed on the Schedule of Assumed Executory
Contracts and Unexpired Leases. Each Executory Contract and Unexpired Lease assumed
pursuant to this Article VIII.A of the Plan or by any order of the Bankruptcy Court, which has not
been assigned to a third party prior to the Effective Date, shall revest in and be fully enforceable
by Jones in accordance with its terms, except as such terms are modified by the provisions of the
Plan or any order of the Bankruptcy Court authorizing and providing for its assumption under
applicable federal law.

        Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the
occurrence of the Effective Date, constitute a Final Order approving the assumptions and/or
rejections of the Executory Contracts and Unexpired Leases assumed, assumed and assigned,
and/or rejected pursuant to the Plan. Any motions to assume Executory Contracts or Unexpired



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Leases pending on the Effective Date shall be subject to approval by the Bankruptcy Court on or
after the Effective Date by a Final Order.

        Notwithstanding anything to the contrary in the Plan, the UCC, in consultation with the
Debtor, reserves the right to alter, amend, modify, or supplement the Schedule of Assumed
Executory Contracts and Unexpired Leases and/or the Schedule of Rejected Executory Contracts
and Unexpired Leases to add or remove any Executory Contract or Unexpired Lease at any time
prior to the Effective Date. The UCC shall provide notice of any amendments to the Schedule of
Assumed Executory Contracts and Unexpired Leases and/or the Schedule of Rejected Executory
Contracts and Unexpired Leases to the parties to the Executory Contracts or Unexpired Leases
affected thereby.

       For the avoidance of doubt, the Premarital Agreement shall be rejected under the Plan.

   B. Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Bankruptcy Court
within thirty (30) days after the later of (a) the date of notice of entry of an order of the Bankruptcy
Court (including the Confirmation Order) approving such rejection; (b) the effective date of such
rejection; or (c) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time may be
Disallowed, forever barred from assertion, and may not be enforceable against the Debtor,
the Debtor’s Estate, or its property. For the avoidance of doubt, the notice of the occurrence of
the Effective Date served on all parties in interest shall include provisions setting forth the deadline
for filing Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts
or Unexpired Leases pursuant to the Plan and Confirmation Order.

        The UCC and the Sandy Hook Families, in consultation with the Debtor, prior to the
Effective Date and the GUC Trustee, in consultation with the Debtor, on and after the Effective
Date reserve the right to classify and treat any Claims arising from the rejection of the Debtor’s
Executory Contracts or Unexpired Leases as Subordinated Claims.

   C. Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
or assumed and assigned pursuant to the Plan and the Confirmation Order shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash
on the Effective Date, subject to the limitation described below, or on such other terms as the
parties to such Executory Contracts or Unexpired Leases may otherwise agree
(the “Cure Amount”). In the event of a dispute regarding (a) the amount of any payments to cure
such a default; (b) the ability of the Debtor, as applicable, to provide “adequate assurance of future
performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed or assumed and assigned; or (c) any other matter
pertaining to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code
shall be made following the entry of a Final Order or orders resolving the dispute and approving



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the assumption or assumption and assignment. At least ten (10) calendar days prior to the deadline
to object to Confirmation of the Plan, the UCC shall provide for notices of proposed assumption
or assumption and assignment and proposed Cure Amounts to be sent to applicable counterparties
and for procedures for objecting thereto and resolution of disputes by the Bankruptcy Court. Any
objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
assumption or assumption and assignment or related Cure Amount must be Filed, served,
and actually received by the UCC and the Debtor by the deadline to object to Confirmation
of the Plan. Any counterparty to an Executory Contract or Unexpired Lease that fails to
object timely to the proposed assumption, or proposed assumption and assignment, or Cure
Amount will be deemed to have consented to such matters and will be deemed to have forever
released and waived any objection to such proposed assumption, proposed assumption and
assignment, and Cure Amount. To the extent an Executory Contract or Unexpired Lease is
deemed rejected pursuant to Article VIII.A hereof, but the subject counterparty did not receive
notice of such rejection by the UCC and the Debtor, such counterparty shall be afforded the ability
to dispute whether such assumption satisfies the requirements of Section 365(b) of the Bankruptcy
Code; provided that, to the extent the UCC, in consultation with the Debtor, and the subject
counterparty are unable to consensually resolve any such dispute or the Court determines a Cure
Amount in an adverse manner to the UCC, the UCC, in consultation with the Debtor, may deem
such Executory Contract or Unexpired Lease to be rejected as of the Effective Date.

         Assumption or assumption and assignment of any Executory Contract or Unexpired Lease
pursuant to the Plan shall result in the full release and satisfaction of any Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed or assumed and assigned Executory Contract or Unexpired Lease at any time prior to the
effective date of assumption or assumption and assignment, as applicable. Any counterparty to an
Executory Contract or Unexpired Lease that does not timely object to the notice of the proposed
assumption or assumption and assignment of such Executory Contract or Unexpired Lease shall
be deemed to have consented to the assumption or assumption and assignment, as applicable, of
the applicable Executory Contract or Unexpired Lease notwithstanding any provision thereof that
purports to: (a) prohibit, restrict, or condition the transfer or assignment of such contract or lease;
(b) terminate or modify, or permit the termination or modification of, a contract or lease as a result
of any direct or indirect transfer or assignment of the rights of the Debtor under such contract or
lease or a change, if any, in the ownership or control of the Debtor under such contract or lease to
the extent contemplated by the Plan; (c) increase, accelerate, or otherwise alter any obligations or
liabilities of the Debtor under such Executory Contract or Unexpired Lease; or (d) create or impose
a Lien upon any property or asset of the Debtor. Each such provision shall be deemed to not apply
to the assumption or assumption and assignment of such Executory Contract or Unexpired Lease
pursuant to the Plan and counterparties to assumed Executory Contracts or Unexpired Leases that
fail to object to the proposed assumption or assumption and assignment in accordance with the
terms set forth in this Article VIII.C, shall forever be barred and enjoined from objecting to the
proposed assumption or assumption and assignment or to the validity of such assumption or
assumption and assignment (including with respect to any Cure Amounts or the provision of
adequate assurance of future performance), or taking actions prohibited by the foregoing or the
Bankruptcy Code on account of transactions contemplated by the Plan.




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                                  ARTICLE IX.
                         RETENTION OF EXEMPT PROPERTY

       All of the Exempt Assets shall be retained by Jones.

                                    ARTICLE X.
                            RELEASES AND EXCULPATIONS

   A. Releases

       Notwithstanding anything contained in the Plan to the contrary, pursuant to
section 1123(b) of the Bankruptcy Code, in exchange for good and valuable consideration,
the adequacy of which is hereby confirmed, each Released Party is deemed to be, hereby
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged
by the Releasing Parties, as applicable, from any and all claims and Causes of Action asserted
by or assertable on behalf of the Releasing Parties, whether known or unknown, foreseen or
unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-
contingent, in law, equity, contract, tort or otherwise except for claims or Causes of Action
related to any act or omission that is determined by a Final Order to have constituted willful
misconduct, gross negligence, or actual fraud. Notwithstanding anything to the contrary in
the foregoing, the releases set forth above do not release any post-Effective Date obligations
of any party or Entity under the Plan, the Confirmation Order, or any document,
instrument, or agreement executed to implement the Plan or any Claim or obligation arising
under the Plan. For the avoidance of doubt, Jones shall not be a Released Party and there
shall be no release or exculpation of the Trust Causes of Action, the Nondischargeable
Claims, or any other Claims or Causes of Action against Jones, non-minor members of his
immediate family, or each of their respective Insiders or Affiliates, as applicable, subject to
the ability of Insiders and Affiliates of Jones to become a Released Party by making a Release
Settlement Payment.

       No person or entity may commence or pursue a Claim or Cause of Action of any kind
against any of the Released Parties that relates to or is reasonably likely to relate to any act
or omission in connection with, relating to, or arising out of a Claim or Cause of Action
related to the Chapter 11 Case prior to the Effective Date, the formulation, preparation,
dissemination, negotiation, or filing of the Specific Disclosure Statement, this Plan, the Plan
Supplement, the pursuit of Confirmation, the administration and implementation of this
Plan, or the distribution of property under this Plan, the GUC Trust Agreement or any other
related agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date related or relating to any of the
foregoing, without regard to whether such person or entity is a Releasing Party, without the
Bankruptcy Court (i) first determining, after notice and a hearing, that such Claim or Cause
of Action represents a colorable claim of any kind and (ii) specifically authorizing such
person or entity to bring such Claim or Cause of Action against any such Released Party.
The Bankruptcy Court will have sole and exclusive jurisdiction to adjudicate the underlying
colorable claim or cause of action. At the hearing for the Bankruptcy Court to determine
whether such Claim or Cause of Action represents a colorable claim of any kind, the
Bankruptcy Court may direct that such person or entity seeking to commence or pursue


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such Claim or Cause of Action file a proposed complaint with the Bankruptcy Court
embodying such Claim or Cause of Action, such complaint satisfying the applicable Federal
Rules of Civil Procedure, including, but not limited to, Rule 8 and Rule 9 (as applicable),
which the Bankruptcy Court shall assess before making a determination.

        Nothing in the Plan Documents shall: (i) discharge or release the Debtor, any
“Released Party,” any non-Debtor, or any other person from any right, Claim, liability, or
Cause of Action of or to the United States, or any state or local authority; (ii) impair the
ability of the United States or any state or local authority from pursuing any Claim, liability,
right, defense, or Cause of Action against the Debtor, any “Released Party,” any non-Debtor,
or any other person; (iii) cause the United States or any state or local authority to be a
Releasing Party under the Plan Documents; (iv) be construed as a compromise or settlement
of any Claim, interest, or Cause of Action of the United States or any state or local authority;
(v) affect or impair the exercise of the United States’ or any state or local authority’s police
and regulatory powers; (vi) constitute an approval or consent by the United States or any
state or local authority without compliance with all applicable legal requirements and
approvals under non-bankruptcy law; or (vii) exculpate any party or person from any
liability to the United States or any state or local authority whatsoever.

   B. Exculpations

       Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur liability for, and each Exculpated Party is hereby released and exculpated from, any
Cause of Action or Claim whether direct or derivate related to any act or omission in
connection with, relating to, or arising out of the Chapter 11 Case from the Petition Date to
the Effective Date, the formulation, preparation, dissemination, negotiation, or Filing of the
Plan, the Specific Disclosure Statement, the Plan Supplement, or any contract, instrument,
release, or other agreement or document created or entered into before or during the
Chapter 11 Case in connection with the Plan, any preference, fraudulent transfer, or other
avoidance Claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable
law, the Filing of the Chapter 11 Case, the pursuit of Confirmation, the pursuit of
consummation of the Plan, the administration and implementation of the Plan, including the
issuance of GUC Trust Interests pursuant to the Plan, or the distribution of property under
the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date related
or relating to any of the foregoing, except for Claims related to any act or omission that is
determined in a Final Order to have constituted willful misconduct, gross negligence, or
actual fraud, but in all respects such Exculpated Parties shall be entitled to reasonably rely
upon the advice of counsel with respect to their duties and responsibilities pursuant to
the Plan and the Confirmation Order.

       The Exculpated Parties set forth above have, and upon Confirmation of the Plan,
shall be deemed to have, participated in good faith and in compliance with applicable law
with respect to the solicitation of votes and distribution of consideration pursuant to the Plan
and, therefore, are not and shall not be liable at any time for the violation of any applicable
law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or
such distributions made pursuant to the Plan.


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                            ARTICLE XI.
      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVENESS

   A. Conditions to Confirmation

       It shall be a condition to Confirmation of the Plan that the following condition shall have
been satisfied or waived; provided that such condition may be waived only by the Texas Plaintiffs
and the Connecticut Plaintiffs jointly.

        1.     By no later than May 31, 2024, Schedule 1 to the Plan, which shall provide the
allowed amount of the Sandy Hook Families’ claims for purposes of distribution under the Plan,
shall have been agreed upon by the Texas Plaintiffs and the Connecticut Plaintiffs and filed with
the Bankruptcy Court.

   B. Conditions to Effectiveness

       It shall be a condition to the Effective Date of the Plan that the following conditions shall
have been satisfied or waived; provided that the UCC may, in its sole discretion, waive any such
condition.

       1.    The GUC Trust shall be established in accordance with the GUC Trust Agreement
and the GUC Trust Assets, to the extent available, shall have vested therein;

       2.      The Professional Fee Escrow Account shall have been funded;

        3.      The Bankruptcy Court shall have approved the Specific Disclosure Statement on a
final basis, which may be approved by the Confirmation Order; and

        4.      The Bankruptcy Court shall have entered the Confirmation Order, which shall be a
Final Order, in form and substance reasonably acceptable to the UCC and the Sandy Hook
Families, in consultation with the Debtor, and the Confirmation Order shall, among other things,
approve the nondischargeability of the Nondischargeable Claims and authorize the implementation
of the Plan in accordance with its terms.

                                     ARTICLE XII.
                               RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all matters
arising out of, or related to, the Chapter 11 Case, the Plan and the Confirmation Order pursuant to
sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

        1.     classify, allow, or disallow Claims and direct distributions of funds under the Plan
and to hear and determine any controversies pertaining thereto;

       2.      hear and determine any and all applications and adversary proceedings and other
matters arising out of or related to the Plan;


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       3.     enter and implement such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, or vacated;

        4.      liquidate or estimate damages or determine the manner and time for such
liquidation or estimation in connection with any contingent or unliquidated Claim;

       5.      adjudicate all Claims to any Lien on any property or any proceeds thereof;

       6.      decide and resolve all matters related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan;

        7.     hear matters related to the GUC Trust, including, without limitation, discovery
matters under Bankruptcy Rule 2004 and matters pertaining to the GUC Trust Assets and the scope
thereof;

       8.      adjudicate, decide, or resolve any and all matters related to Causes of Action that
may arise from or in connection with the consummation, interpretation, or enforcement of the Plan
or any Entity’s obligations incurred in connection therewith;

        9.     hear and determine disputes arising in connection with the interpretation,
implementation, effect, or enforcement of the Plan, the Plan Supplement, including disputes
arising under agreements, documents, or instruments executed in connection with the Plan;

       10.    adjudicate, decide, or resolve matters concerning state, local, and U.S. federal taxes
in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

        11.     enforce all orders, judgments, injunctions, releases, exculpations, indemnifications,
and rulings entered in connection with the Chapter 11 Case with respect to any person or Entity,
and resolve any cases, controversies, suits, or disputes that may arise in connection with any person
or Entity’s rights arising from or obligations incurred in connection with the Plan;

       12.     hear and determine any disputes concerning the Jones Transfer Obligation;

       13.    hear and determine all disputes involving the existence, nature, scope, or
enforcement of any exculpations, discharges, injunctions, and releases granted in the Plan,
including under Article X of the Plan and the nondischargeability of any Claims; and

       14.     adjudicate, decide, or resolve matters brought pursuant to section 1142(b)
concerning the delivery and execution of documents required to effect transfers of property
necessary for consummation of transactions contemplated by the Plan, the Plan Supplement, or the
GUC Trust Agreement.

                                      ARTICLE XIII.
                                  MODIFICATION OF PLAN

     The UCC and the Sandy Hook Families, in consultation with the Debtor, may propose
amendments or modifications of the Plan at any time prior to Confirmation, without leave of the


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Bankruptcy Court, so long as such amendment or modification meets the requirements of section
1127(a) of the Bankruptcy Code and does not constitute a material modification of the Plan
requiring additional disclosure under section 1125 of the Bankruptcy Code. After the
Confirmation Date, the UCC and the Sandy Hook Families may, in consultation with the Debtor
and with approval of the Bankruptcy Court, and so long as it does not materially or adversely affect
the interests of holders of Claims, remedy any defect or omission, or reconcile any inconsistencies
in the Plan or in the Confirmation Order in such manner as may be necessary to carry out the
purposes and effect of the Plan.

                                    ARTICLE XIV.
                              MISCELLANEOUS PROVISIONS

   A. Immediate Binding Effect

        Upon the occurrence of the Effective Date, the terms of the Plan shall be immediately
effective and enforceable and deemed binding upon Jones and any and all holders of Claims
(irrespective of whether their Claims are deemed to have accepted the Plan), all Entities that are
parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor
parties to Executory Contracts and Unexpired Leases with Jones.

   B. Discharge

        The provisions of the Plan will bind Jones and all holders of Claims against Jones, whether
or not they accept the Plan. On the Effective Date, all holders of Claims will be precluded and
enjoined from asserting any Claim against Jones, Jones’s Estate, or Jones’s assets or property
based upon any transaction or any activity of any kind that have occurred prior to the Effective
Date, during the duration of the Plan; provided, however, that holders of Nondischargeable Claims,
including the GUC Trustee, shall not be precluded or enjoined from asserting such Claims or from
pursuing collection actions against Jones or his present or future assets or property (other than
GUC Trust Assets) with respect to such Claims, to the extent allowable under non-bankruptcy law.

   C. Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court enters the Confirmation Order. None of the Filing of the Plan, any statement or
provision contained in the Plan or the taking of any action by the UCC with respect to the Plan or
the Specific Disclosure Statement shall be or shall be deemed to be an admission or waiver of any
rights of the UCC unless and until the Effective Date has occurred.

   D. FSS Plan

        As further described in the Specific Disclosure Statement, Confirmation of the Plan need
not determine the outcome of the FSS Case nor necessarily impair FSS’s ability to prosecute the
FSS Plan and perform thereunder if confirmed.




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   E. Entire Agreement

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

   F. No Admission

      Nothing in the Plan shall be deemed to be an admission or any kind on behalf of the UCC,
any member of the Sandy Hook Families or the Debtor.

                         [Remainder of page intentionally left blank]




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                            Schedule 1

                     Sandy Hook Family Claims
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                            Exhibit B
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                                                            SOLICITATION VERSION


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                                 )
In re:                                           ) Chapter 11
                                                 )
ALEXANDER E. JONES,                              ) Case No. 22-33553 (CML)
                                                 )
                      Debtor.                    )
                                                 )

                    CREDITORS’ NON-UNIFORM INDIVIDUAL
           CHAPTER 11 PLAN OF LIQUIDATION FOR ALEXANDER E. JONES

/s/ Marty L. Brimmage, Jr.                       /s/ Ryan E. Chapple
AKIN GUMP STRAUSS HAUER & FELD LLP               CAIN & SKARNULIS PLLC
Marty L. Brimmage, Jr.                           Ryan E. Chapple
Texas Bar No. 00793386                           State Bar No. 24036354
2300 N. Field Street, Suite 1800                 303 Colorado Street, Suite 2850
Dallas, Texas 75201                              Austin, TX 78701
Telephone: (214) 969-2800                        Telephone: (512) 477-5000
Fax: (214) 969-4343                              Fax: (512) 477-5011
E-mail: mbrimmage@akingump.com                   E-mail: rchapple@cstrial.com

-and-                                            KOSKOFF KOSKOFF & BIEDER, PC
                                                 Alinor C. Sterling (admitted pro hac vice)
David M. Zensky (admitted pro hac vice)          350 Fairfield Avenue
Sara L. Brauner (admitted pro hac vice)          Bridgeport, CT 06604
Katherine Porter (admitted pro hac vice)         Telephone: (203) 336-4421
Anna Kordas (admitted pro hac vice)              E-mail: asterling@koskoff.com
Melanie A. Miller (admitted pro hac vice)
One Bryant Park                                  PAUL,            WEISS,           RIFKIND,
New York, NY 10036                                WHARTON & GARRISON LLP
Telephone: (212) 872-1000                        Kyle J. Kimpler (admitted pro hac vice)
Fax: (212) 872-1002                              Stephanie P. LascanoLeslie E. Liberman
E-mail: dzensky@akingump.com                     (admitted pro hac vice)
E-mail: sbrauner@akingump.com                    Vida Robinson (admitted pro hac vice)
E-mail: kporter@akingump.com                     1285 Avenue of the Americas
E-mail: akordas@akingump.com                     New York, NY 10019-6064
E-mail: melanie.miller@akingump.com              Telephone: (212) 373-3000
                                                 Fax: (212) 757-3990
Counsel to the Official Committee of Unsecured   E-mail: kkimpler@paulweiss.com
Creditors of Alexander E. Jones                  E-mail: slascanolliberman@paulweiss.com
                                                 E-mail: virobinson@paulweiss.com
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                                      Co-Counsel to the Connecticut Plaintiffs
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/s/ Avi Moshenberg
MCDOWELL HETHERINGTON LLP
LAWSON & MOSHENBERG PLLC
Avi Moshenberg
State Bar No. 24083532
1001 Fannin801 Travis Street, Suite 27002101, #838
Houston, TX 77002
Telephone: (713) 337-5580449-9644
Fax: (713) 337-8850
E-mail:
Avi.Moshenberg@mhllpavi.moshenberg@lmbusine
sslaw.com

CHAMBERLAIN, HRDLICKA,
WHITE, WILLIAMS & AUGHTRY, PC
Jarrod B. Martin
State Bar No. 24070221
1200 Smith Street, Suite 1400
Houston, TX 77002
Telephone: (713) 356-1280
Fax: (713) 658-2553
E-mail: jarrod.martin@chamberlainlaw.com

WILLKIE FARR & GALLAGHER LLP
Jennifer J. Hardy
State Bar No. 24096068
600 Travis Street
Houston, TX 77002
Telephone: (713) 510-1766
Fax: (713) 510-1799
E-mail: jhardy2@willkie.com

WILLKIE FARR & GALLAGHER LLP
Rachel C. Strickland (admitted pro hac vice)
Stuart R. Lombardi (admitted pro hac vice)
Ciara A. Sisco (admitted pro hac vice)
787 Seventh Avenue
New York, NY 10019
Telephone: (212) 728-8000
Fax: (212) 728-8111
E-mail: rstrickland@willkie.com
E-mail: slombardi@willkie.com
E-mail: csisco@willkie.com

Co-Counsel to the Texas Plaintiffs
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Dated: January 29May 24, 2024
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                                       INTRODUCTION

        The UCC and the Sandy Hook Families propose the following Plan pursuant to the
provisions of chapter 11 of the Bankruptcy Code. For the avoidance of doubt, other than as
disclosed in the Specific Disclosure Statement, the Confirmation of the Plan does not necessarily
determine the outcome of the FSS Case or impair FSS’s ability to prosecute the FSS Plan and
perform thereunder if confirmed.

                                        ARTICLE I.
                                        DEFINITIONS

   A. Defined Terms

       As used in the Plan, capitalized terms shall have the meanings set forth below.

        1.     “Administrative Claim” means a Claim for which a holder asserts and is
determined to be entitled to priority for costs and expenses of administration of the Debtor’s
estate pursuant to sections 503 and 507(a)(1) of the Bankruptcy Code.

       2.     “Affiliate” means an “affiliate” as defined by section 101(2) of the
Bankruptcy Code, and shall include with respect to Jones, without limitation, A. Emric
Productions LLC, AEJ Austin Holdings LLC, AEJ Holdings, LLC, Austin Shiprock Publishing,
LLC, Emric Productions, Free Speech Systems, LLC, Guadalupe County Land and Water LLC,
Info W, LLC, IWHealth, LLC, Jones Productions, Jones Productions, LLC, Jones Report, LLC,
JLJR Holdings LLC, Magnolia Management LLC, Magnolia Management, LP, Magnolia
Holdings Limited Partnership, Magnolia Limited Partnership, Planet Infowars, LLC, PLJR
Holdings LLC, Prison Planet TV, LLC, PQPR Holdings Limited LLC, RCGJ, LLC, and the
Jones Trusts.

         3.     “Allowed” or “Allowed Amount” means, when used with respect to anya Claim
against the Debtor, except to the extent that the Plan provides otherwise,(including any
Administrative Claim), or any portion thereof, a Claim or any portion thereof: (a) that is allowed
under the Plan, by Final Order, or pursuant to a settlement; (b) that is evidenced by a Proof of
Claim timely Filed by the applicable Bar Date or a request for payment of an Administrative
Claim Filed by the Administrative Claims Bar Date, as applicable (or that is not required to be
evidenced by a Filed Proof of Claim under the Plan, the Bankruptcy Code, or a Final Order); or
(c) that is scheduled by the Debtor as not disputed, contingent, or unliquidated, and for which no
Proof of Claim has been timely Filed; provided that, with respect to a Claim described in clauses
(b) and (c) above, such Claim shall be considered Allowed only if and to the extent that such
Claim is not Disallowed and no objection to the allowance of such Claim is interposed within the
applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by a
Final Order.

       4.     “Bar Date” means the dates established by the Bankruptcy Court or otherwise
provided for by the Bankruptcy Code, the Bankruptcy Rules, or the Plan by which any Proof of
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Claim must be Filed with respect to such Claims; provided that there shall be no applicable Bar
Date for Claims for which the Plan excludes from the requirement of Filing Proofs of Claim.

       5.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as now in effect or hereafter amended.

        6.     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division.

       7.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Case, promulgated under section 2075 of the Judicial Code and the
general, local, and chambers rules of the Bankruptcy Court.

        8.     “Business Day” means any day, other than a Saturday, Sunday, “legal holiday”
(as defined in Bankruptcy Rule 9006(a)(6)), or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the state of Texas.

        9.      “Cash” means cash and cash equivalents, including bank deposits, checks, and
other similar items in legal tender of the United States of America.

        10.     “Causes of Action” means, collectively, any and all actions, claims, cross claims,
third-party claims, interests, damages, controversies, remedies, causes of action, debts,
judgments, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets,
powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or
character whatsoever, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising, contingent or non-contingent, liquidated or unliquidated, secured or
unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected,
disputed or undisputed, whether arising before, on, or after the Petition Date, in contract, tort,
law, equity, or pursuant to any other theory of law or otherwise. Causes of Action also include:
(a) any rights of setoff, counterclaim, or recoupment and any claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest
Claims; (c) claims pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the
Bankruptcy Code; and (d) any claims or defenses, including fraud, mistake, duress, and usury,
and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state law
fraudulent transfer claim.

      11.    “Chapter 11 Case” means the above-captioned case filed under chapter 11 of the
Bankruptcy Code.

      12.    “Claim” means any “claim,” as such term is defined in section 101(5) of the
Bankruptcy Code, against the Debtor or the Debtor’s Estate.

       13.     “Claimant” means the holder of a Claim.

        14.     “Claims Objection Bar Date” means the deadline for filing objections to requests
for payment of Claims, which shall be the later of (a) ninety (90) days after the Effective Date
and (b) ninety (90) days after the Filing of the applicable Claim.



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       15.     “Clerk” means the “bankruptcy clerk” as defined by Bankruptcy Rule 9001.

       16.   “Confirmation” means the entry by the Bankruptcy Court of the Confirmation
Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy Rules 5003
and 9021.

       17.    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy
Rules 5003 and 9021.

       18.     “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan under section 1129 of the Bankruptcy Code.

       19.     “Cure Amount” shall have the meaning ascribed to such term in Article VIII.C of
the Plan.

       20.     “David Jones” means Jones’s father, Dr. David Jones.

        21.    “Debtor” means Jones, the debtor in the above-captioned Chapter 11 Case. For
the avoidance of doubt, Debtor shall also refer to the Debtor as reorganized on or after the
Effective Date in accordance with the Plan.

         22.    “Disallowed” means (a) any Claim, or any portion thereof, that has been
disallowed by Final Order or settlement, as provided in the Plan or the Confirmation Order;
(b) any Claim or interest, or any portion thereof, that is not scheduled or that is scheduled at zero
or as contingent, disputed, or unliquidated and as to which a Bar Date has been established but
no Proof of Claim has been timely Filed or deemed timely Filed with the Bankruptcy Court
pursuant to the Bankruptcy Code, the Bankruptcy Rules, a Final Order of the Bankruptcy Court,
or otherwise deemed timely Filed under applicable law; or (c) any Claim, or any portion thereof,
that is not Allowed.

        23.     “Disputed” means, with respect to a Claim, any such Claim, or any portion
thereof, (a) to the extent neither Allowed nor Disallowed under the Plan or a Final Order, or
(b) for which a Proof of Claim or a motion for payment has been timely filed with the
Bankruptcy Court, to the extent the Debtor or any other party in interest has interposed a timely
objection or request for estimation in accordance with the Plan, the Bankruptcy Code, or the
Bankruptcy Rules, which objection or request for estimation has not been withdrawn or
determined by Final Order. To the extent only the Allowed amount of a Claim is disputed, such
Claim shall be Allowed in the amount not disputed, if any, and Disputed as to the balance of
such Claim.

       24.     “Effective Date” means the first Business Day after the Confirmation Date on
which (a) all conditions to the occurrence of the Effective Date have been satisfied or waived
pursuant to Article XI of the Plan; (b) no stay of the Confirmation Order is in effect; and (c) the
UCC filesand the Sandy Hook Families, in consultation with the Debtor, file a notice of the
occurrence of the Effective Date.




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       25.     “Entity” means an “entity” as defined by section 101(15) of the Bankruptcy Code.

       26.     “Erika Jones” means Jones’s wife, Erika Wulff Jones.

        27.    “Estate” means the estate created by sections 301 and 541 of the Bankruptcy
Code upon the commencement of the Chapter 11 Case and all property (as defined in section 541
of the Bankruptcy Code, including any Causes of Action) acquired by the Debtor after the
Petition Date through the Effective Date.

        28.    “Executory Contract” means a contract to which the Debtor is a party and that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

        29.     “Exempt Assets” are all of the Debtor’s assets that are exempt pursuant to section
1123(c) of the Bankruptcy Code, as included on the Exempt Asset Schedule, which shall be
subject to resolution of any challenge to the exempt status of any asset.

       30.     “Exempt Asset Schedule” is the schedule enumerating all Exempt Assets.

        31.     “Exculpated Parties” means, collectively, and in each case, solely in its capacity
as such: (a) the Sandy Hook Families; (b) the immediate family members of the Sandy Hook
Families; (c) the UCC; and (d) with respect to each of the foregoing (a)-(c), such Entities’
respective employees, agents, financial advisors, and attorneys, including (i) counsel to the
Sandy Hook Families, (ii) counsel to the UCC, and (iii) advisors to the UCC, including
accountants, representatives, and other Professionals, each in their capacity as such., the UCC
and each of its members.

       32.     “Filed” means filed with the Bankruptcy Court in the Chapter 11 Case.

        33.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy
Court, or court of competent jurisdiction with respect to the subject matter, that has not been
reversed, stayed, modified, or amended, as entered on the docket in this Chapter 11 Case or the
docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition
for certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken,
or as to which any appeal that has been taken or any petition for certiorari that has been or may
be timely Filed has been withdrawn or resolved by the highest court to which the order or
judgment was appealed or from which certiorari was sought or the new trial, reargument, or
rehearing will have been denied, resulted in no stay pending appeal of such order, or has
otherwise been dismissed with prejudice; provided that the possibility that a motion under
Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy
Rules, may be Filed with respect to such order will not preclude such order from being a Final
Order.

       34.     “FSS” means Free Speech Systems, LLC.

       35.    “FSS Case” means the bankruptcy case of FSS, Case No. 22-60043 (CML),
pending before the Bankruptcy Court.



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        36.    “FSS Docket” means the docket in the FSS Case.

        3736. “FSS Plan” means the Debtors’Debtor’s First Amended Plan of Reorganization
Under Subchapter V of the Bankruptcy Code, filed at FSS Docket No. 756 in the FSS Case (as
may be altered, amended, modified, or supplemented from time to time in accordance with the
terms thereof) or any other plan filed in the FSS Case.

        3837. “General Unsecured Claim” means any Claim other than a Secured Claim,
Priority Claim, Other Priority Claim, or Subordinated Claim.

        3938. “GUC Election Cash Pool” means an amount in Cash of $50,000.00.

        4039. “GUC Trust” shall have the meaning ascribed to such term in Article IV.A of the
Plan.

       4140. “GUC Trust Agreement” means the agreement establishing and describing the
GUC Trust, which shall be submitted in connection with the Plan Supplement and shall be in
form and substance acceptable to the UCC and the Sandy Hook Families, in consultation with
the Debtor.

        4241. “GUC Trust Assets” means (a) all Jones’s assets, rights, and claims that are
property of the Estate and are not Exempt Assets, whether owned by Jones directly, indirectly, or
otherwise held for the benefit of Jones existing as of the Effective Date, in each case whether
presently known or discovered at any time by the GUC Trustee, and including, but not limited to,
Cash, any tax refund to which Jones is entitled as of the Effective Date (whether or not such
refund is immediately available to Jones as of the Effective Date), 100% of Jones’s equity
ownership interests in FSS, Jones’s full, direct or indirect ownership interests in PQPR, all assets
held in the Jones Trusts, any current contractual right existing as of the Effective Date entitling
Jones to future royalties, and any identified equitable or future interests in property or other
similar revenue, and any defensive appellate rights, (b) the Litigation Assets, and (c) once all
Professional Fee Claims have been irrevocably paid in full or Disallowed pursuant to one or
more Final Orders of the Bankruptcy Court, any remaining Cash held in the Professional Fee
Escrow Account. For the avoidance of doubt, GUC Trust Assets do not include post-Effective
Date income or acquired assets of the Debtor.

        4342. “GUC Trust Interests” means interests in the GUC Trust.

        4443. “GUC Trustee” shall have the meaning ascribed to such term in
Article IV.AArticle IV.B of the Plan.

       4544. “Impaired” means, with respect to any class of Claims, a class of Claims that is
“impaired” as defined by section 1124 of the Bankruptcy Code.

      4645. “Insider” means an “insider” as defined by section 101(31) of the
Bankruptcy Code.




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      4746.      “Internal Revenue Code” means the U.S. Internal Revenue Code of 1986, as
amended.

       48.     “IRS” means the Internal Revenue Service.

       4947. “Jones” means Alexander E. Jones, the Debtor in the above-captioned
Chapter 11 Case.

        50.    “Jones Full Disclosure” shall have the meaning ascribed to such term in
Article VI.C of the Plan.

        5148. “Jones Transfer Obligation” shall have the meaning ascribed to such term in
Article VI.B of the Plan.

       5249. “Jones Trusts” shall mean the Recharge Dynasty Trust, the 2022 Litigation
Settlement Trust, the RXXCTTGAA Trust, the Green Leaf Trust, the AEJ 2018 Trust, the
Missouri779384 Trust, and the Alexander E. Jones Descendent and Beneficiary Trust.

       5350. “Lien” means a “lien” as defined by section 101(37) of the Bankruptcy Code.

        5451. “Litigation Assets” are those litigation-related assets and Causes of Action to be
vested in the GUC Trust, as described in Article IV.E of the Plan.

        5552. “Litigation Committee” shall have the meaning ascribed to such term in
Article IV.B of the Plan.

        56.    “Material Misstatement” shall have the meaning ascribed to such term in
Article VI.C of the Plan.


        5753. “Nondischargeable Claims” means any and all claims against the Debtor arising
out of the following proceedings that have not been dismissed: (a) Heslin v. Jones, Cause No.
D-1-GN-18-001835, in the 261st District Court of Travis County, Texas; (b) Pozner, et al. v.
Jones, Case No. D-1-GN-001842, in the Judicial District Court of Travis County, Texas; (c)
Lafferty v. Jones, et al., Case No. UWY-CV18-6046436-S, in the Judicial District of Waterbury
of the Connecticut Superior Court; (d) Sherlach v. Jones, et al., Case No.
UWY-CV18-6046437-S, in the Judicial District of Waterbury of the Connecticut Superior Court;
and (e) Sherlach v. Jones, et al., Case No. UWY-CV18-6046438-S, in the Judicial District of
Waterbury of the Connecticut Superior Court, in each case, to the extent such claims were
determined to be nondischargeable by the Bankruptcy Court’s memorandum decisions dated
October 19, 2023,1or pursuant to any furtherNondischargeability Decisions or by any other Final
Order.



1
    Memorandum Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones, Adv. Pro.
    No. 23-03037 [Docket No. 76]; Memorandum Decision on Texas Plaintiffs’ Motion for Summary Judgment
    Against Jones, Adv. Pro. No. 23-03035 [Docket No. 46].



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       54.    “Nondischargeability Decisions” means, collectively: (i) the Memorandum
Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones, Adv. Pro. No.
23-03037 [Docket No. 76]; and (ii) the Memorandum Decision on Texas Plaintiffs’ Motion for
Summary Judgment Against Jones, Adv. Pro. No. 23-03035 [Docket No. 46].

       55.    “Objection Deadline” means the deadline to object to confirmation of the Plan, as
the same may be extended from time to time.

        5856. “Other Priority Claim” means any Claim other than an Administrative Claim or a
Priority Tax Claim entitled to priority in right of payment under section 507(a) of the
Bankruptcy Code, including any Priority DSO Claim.

       5957. “Petition Date” means December 2, 2022, the date on which Jones commenced
the Chapter 11 Case.

       6058. “Plan” means this Creditors’ Non-Uniform Individual Chapter 11 Plan of
Liquidation for Alexander E. Jones, proposed by the UCC and the Sandy Hook Families, as it
may be amended, modified, and/or supplemented from time to time.

       59.    “Plan Documents” means the Plan, the Plan Supplement, the Confirmation Order
and other documents related to the Plan and Confirmation of the Plan.

        6160. “Plan Supplement” means the compilation of documents and forms of
documents, term sheets, agreements, schedules, and exhibits to the Plan (or draft forms thereof,
in each case, as may be altered, amended, modified, or supplemented from time to time in
accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy
Rules), and any additional documents Filed prior to the Effective Date as amendments to the
Plan Supplement, each of which shall be acceptable to the UCC and the Sandy Hook Families, in
consultation with the Debtor. The Plan Supplement may include the following (including drafts
or forms, as applicable), or the material terms of the following, as applicable: (a) GUC Trust
Agreement; (b) the Schedule of Assumed Executory Contracts and Unexpired Leases; (c) the
Exempt Asset Schedule of Rejected Executory Contracts and Unexpired Leases; (d) the Exempt
Asset Schedule of Preserved Causes of Action; and (e) any other necessary documentation
related to implementation of the Plan.

       6261. “Premarital Agreement” is the agreement by and between Jones and Erika Jones,
dated as of December 18, 2016.

       6362. “Priority Claim” means an Administrative Claim, a Priority Tax Claim, or a
Professional Fee Claim.

        6463. “Priority Claims Bar Date” means the deadline for filing requests for payment of
Priority Claims, which shall be thirty (30) days after the Effective Date.

        6564. “Priority DSO Claim” means an Allowed Claim for prepetition domestic support
obligations that is entitled to priority under section 507(a)(1) of the Bankruptcy Code.



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       6665. “Priority Tax Claim” means a Claim for which the holder asserts and is
determined to be entitled to priority under section 507(a)(7) of the Bankruptcy Code.

       6766. “Professional” means an Entity retained pursuant to a Bankruptcy Court order in
accordance with section 327 or 1103 of the Bankruptcy Code and to be compensated for services
rendered and expenses incurred pursuant to sections 327, 328, 329, 330, 331, and 363 of the
Bankruptcy Code.

       6867. “Professional Fee Claim” means a Claim by a Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3),
503(b)(4), or 503(b)(5) of the Bankruptcy Code to the extent such fees and expenses have not
been previously paid.

       6968. “Professional Fee Escrow Account” means an interest-bearing account funded
by the Debtor with Cash on or before the Effective Date in an amount equal to the Professional
Fee Escrow Amount.

       7069. “Professional Fee Escrow Amount” means the total amount of Professional Fee
Claims estimated pursuant to Article II.B.3 of the Plan.

       7170. “Protective Order” means the Stipulated Confidentiality Agreement and
Protective Order [Docket No. 159].

       7271. “Proof of Claim” means a written proof of claim Filed against the Debtor in the
Chapter 11 Case by the applicable Bar Date.

       7372. “PQPR” means PQPR Holdings Limited LLC.

        7473. “Released Parties” means, collectively, and in each case, solely in its capacity as
such: (a) the Sandy Hook Families; (b) the immediate family members of the Sandy Hook
Families; (c) the UCC; (d) with respect to each of the foregoing (a)-(c), such Entities’ respective
current and former Affiliates, and such Entities’ and their current and former Affiliates’ current
and former successors, assigns, employees, agents, financial advisors, and attorneys, including,
among others, (i) counsel to the Sandy Hook Families, (ii) counsel to the UCC, and (iii) advisors
to the Sandy Hook Families and/or the UCC, including accountants, financial advisors,
representatives, and other Professionals, each strictly in their capacity as such; (e) members of
Jones’s family that are legally minors as of the Effective Date; and (f) any Insider or Affiliate of
Jones that has made, or has caused to be made, a Release Settlement Payment; provided, that any
entity that would otherwise be a “Released Party” that votes to reject the Plan, objects to the
Plan, or objects to or opts out of the releases contained in Article X of the Plan, shall not be a
“Released Party.”

        7574. “Releasing Parties” means (a) Jones and his Estate to the extent he does not opt
out or otherwise object to the releases contained in Article X of the Plan; (b) the UCC;
(cb) the Sandy Hook Families; (dc) any Insider or Affiliate of Jones that has made, or has caused
to be made, a Release Settlement Payment; and (ed) all holders of Claims, Interests, or Causes of
Action that (i) vote to accept the Plan or (ii) are Unimpaired and do not timely opt out of or file


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an objection to the releases contained in Article X of the Plan that is not resolved before
Confirmation.

       7675. “Release Settlement Payment” means a payment to the GUC Trust of an amount
of Cash acceptable to (a) prior to the Effective Date, the UCC, and (b) after the Effective Date,
the GUC Trustee, as determined in accordance with the GUC Trust Agreement, on account of
any Trust Cause of Action against any Insider or Affiliate of Jones.

       7776. “Sandy Hook Families” means Mark Barden, Jacqueline Barden, Francine
Wheeler, David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg,
William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert
Parker, Erica Ash (aka Erica Lafferty), Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique
De La Rosa, and Marcel Fontaine.

       7877. “Sandy Hook Family Claims” means any Claim for which a Proof of Claim has
been Filed in the Chapter 11 Case by or on behalf of any member of the Sandy Hook Families,
which Claims shall be Allowed in the amounts set forth on Schedule 1 of the Plan.

         79.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means the
list of Executory Contracts and Unexpired Leases that will be assumed by the Debtor pursuant to
the Plan as of the Effective Date, which list shall be included in the Plan Supplement.

       8078. “Schedule of RejectedAssumed Executory Contracts and Unexpired Leases”
means the list of Executory Contracts and Unexpired Leases that will be rejectedassumed by the
Debtor pursuant to the Plan as of the Effective Date, which list shall be included in the Plan
Supplement.

        8179. “Schedules and Statements” means, collectively, the Schedules of Assets and
Liabilities [Docket No. 161], the Statement of Financial Affairs [Docket No. 162], the First
Amended Schedules of Assets and Liabilities [Docket No. 231], the First Amended Statement of
Financial Affairs [Docket No. 232], the Attachment to Schedule A/B [Docket No. 233], the
Attachment to Statement of Financial Affairs [Docket No. 234], the Second Amended Schedules
of Assets and Liabilities [Docket No. 242], the Second Amended Statement of Financial Affairs
[Docket No. 243], the Third Amended Schedules of Assets and Liabilities [Docket No. 501] and
the Third Amended Statement of Financial Affairs [Docket No. 502], as may be amended and
supplemented from time to time.

        8280. “Secured Claim” means a Claim: (a) secured by a Lien on property in which the
applicable Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in such
Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, as
determined pursuant to section 506(a) of the Bankruptcy Code; or (b) otherwise Allowed
pursuant to the Plan as a Secured Claim; provided that no Claim asserted by any Insider or
Affiliate of the Debtor shall be a Secured Claim.

       8381. “Specific Disclosure Statement” means the Creditors’ Specific Disclosure
Statement as Filed or amended, including all exhibits and schedules attached thereto and


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references therein that relate to the Plan, that is prepared and distributed in accordance with the
Bankruptcy Code, the Bankruptcy Rules, and any other applicable law and approved by the
Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.

       8482. “Subordinated Claim” means a Claim subject to subordination pursuant to
sections 509(c) and/or 510(c) of the Bankruptcy Code, or any other provision of the Bankruptcy
Code or applicable law subordinating such claim to any General Unsecured Claim.

        8583. “Trust Causes of Action” shall have the meaning ascribed to such term in
Article IV.E.2 of the Plan.

       8684. “UCC” means the Official Committee of Unsecured Creditors in this Chapter 11
Case, appointed pursuant to Docket No. 42.

      8785. “Unexpired Lease” means a lease to which the Debtor is a party that is subject to
assumption or rejection under section 365 or section 1123 of the Bankruptcy Code.

       8886. “Unimpaired” means, with respect to a class of Claims, a class of Claims that is
not Impaired.

       87.    “United States” means the United States of America, inclusive of its agencies and
sub-agencies.

        8988. “U.S. Trustee” means the Office of the United States Trustee for the Southern
District of Texas.

   B. Rules of Interpretation

       For purposes of the Plan:

        1.     in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and the neuter gender;

        2.      any reference herein to a contract, lease, instrument, release, indenture, or other
agreement or document being in a particular form or on particular terms and conditions means
that the referenced document shall be substantially in that form or substantially on those terms
and conditions;

        3.     any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may
thereafter be amended, restated, supplemented, or otherwise modified;

       4.      any reference to an Entity as a holder of a Claim includes that Entity’s successors
and assigns;




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        5.      unless otherwise specified, all references herein to “Articles” are references to
Articles of the Plan;

        6.       unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan;

        7.     subject to the provisions of any contract, certificate of incorporation, bylaw,
instrument, release, or other agreement or document entered into in connection with the Plan, the
rights and obligations arising pursuant to the Plan shall be governed by, and construed and
enforced in accordance with, applicable federal law, including the Bankruptcy Code and the
Bankruptcy Rules, or, if no rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and the Bankruptcy Rules) or otherwise specifically stated, the laws of the
State of Texas, without giving effect to the principles of conflict of laws;

       8.       captions and headings to Articles are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation of the Plan;

        9.    unless otherwise specified herein, the rules of construction set forth in section 102
of the Bankruptcy Code shall apply;

       10.      all references to docket numbers of documents Filed in this Chapter 11 Case are
references to the docket numbers under the Bankruptcy Court’s CM/ECF system;

        11.  all references to statutes, regulations, orders, rules of courts, and the like shall
mean as amended from time to time, and as applicable to this Chapter 11 Case, unless otherwise
stated;

        12.    all references herein to consent, acceptance, or approval shall be deemed to
include the requirement that such consent, acceptance, or approval be evidenced by a writing,
which may be conveyed by counsel for the respective parties, or, if applicable, the GUC Trustee,
that have such consent, acceptance, or approval rights, including by electronic mail;

        13.    any term used in capitalized form herein that is not otherwise defined but that is
used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; and

        14.     the words “include” and “including,” and variations thereof, shall not be deemed
to be terms of limitation, and shall be deemed to be followed by the words “without limitation.”

   C. Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.




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   D. Reference to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

   E. Controlling Document

        In the event of an inconsistency between the Plan and the Specific Disclosure Statement,
the terms of the Plan shall control in all respects. In the event of an inconsistency between the
Confirmation Order and the Plan, the Confirmation Order shall control.

                               ARTICLE II.
              ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

   A. Administrative Claims.

        To the extent that Administrative Claims have not been paid in full or otherwise satisfied
during this Chapter 11 Case, each holder of an Allowed Administrative Claim will receive in full
and final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the
amount of the unpaid portion of such Allowed Administrative Claim in accordance with the
following: (a) if such Administrative Claim is Allowed prior to the Effective Date, on the
Effective Date or in the ordinary course of business, whichever is later; or (b) if such
Administrative Claim is not Allowed as of the Effective Date, no later than thirty (30) days after
the date on which an order Allowing such Administrative Claim becomes a Final Order, or as
soon as reasonably practicable thereafter. Any objection to an Administrative Claim must be
Filed by the Priority Claims Objection Bar Date.

HOLDERS OF ADMINISTRATIVE CLAIMS THAT ARE REQUIRED TO FILE AND
SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE CLAIMS THAT
DO NOT FILE AND SERVE SUCH A REQUEST BY THE PRIORITY CLAIMS BAR
DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH ADMINISTRATIVE CLAIMS AGAINST THE DEBTOR, THE
ESTATE OR THE PROPERTY OF ANY OF THE FOREGOING, AND SUCH
ADMINISTRATIVE CLAIMS SHALL BE DEEMED DISCHARGED AS OF THE
EFFECTIVE DATE WITHOUT THE NEED FOR ANY OBJECTION FROM THE
DEBTOR OR ANY NOTICE TO OR ACTION, ORDER OR APPROVAL OF THE
BANKRUPTCY COURT OR ANY OTHER ENTITY.

   B. Professional Fee Claims.

       1.      Final Professional Fee Applications and Payment of Professional Fee Claims.

        All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred through and including the Effective Date must be Filed no
later than the Priority Claims Bar Date. The Bankruptcy Court shall determine the Allowed
Amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Code and the Bankruptcy Rules. Jones shall pay to the
Professionals the amount of the Allowed Professional Fee Claims owing to such Professionals in


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Cash, including from funds held in the Professional Fee Escrow Account, as soon as reasonably
practicable after such Professional Fee Claims are Allowed by entry of a Final Order of the
Bankruptcy Court. Any objection to a Professional Fee Claim must be Filed by the Priority
Claims Objection Bar Date.

       2.      Professional Fee Escrow Account.

        As soon as is reasonably practicable after the Confirmation Date and no later than the
Effective Date, the Debtor shall establish and fund the Professional Fee Escrow Account with
Cash equal to the Professional Fee Escrow Amount. The Professional Fee Escrow Account shall
be maintained in trust solely for the Professionals and for no other Entities until all Professional
Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full to the
Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No Liens or
Claims shall encumber the Professional Fee Escrow Account or Cash held therein. Funds held in
the Professional Fee Escrow Account shall not be considered property of the Estate or the
Debtor.

        Distributions to holders of Professional Fee Claims shall be made in accordance with
Article VI.A.1 of the Plan. When all Professional Fee Claims Allowed by the Bankruptcy Court
have been irrevocably paid in full to the Professionals or Disallowed pursuant to one or more
Final Orders of the Bankruptcy Court, any remaining funds held in the Professional Fee Escrow
Account shall promptly be paid to the GUC Trust without any further notice to or action, order,
or approval of the Bankruptcy Court or any other Entity.

       3.      Professional Fee Escrow Amount.

        The Professionals shall provide a reasonable and good-faith estimate of their unpaid
Professional Fee Claims incurred in rendering services to the Debtor and Estate before and as of
the Effective Date projected to be outstanding as of the Effective Date, and shall deliver such
estimate to the Debtor and the UCC no later than five (5) days before the anticipated Effective
Date; provided, however, that such estimate shall not be considered or deemed an admission or
limitation with respect to the amount of the fees and expenses that are the subject of the
Professional’s final request for payment of Professional Fee Claims and such Professionals are
not bound to any extent by the estimates. If a Professional does not provide an estimate, the
Debtor, in consultation with the UCC, may estimate the unpaid and unbilled fees and expenses
of such Professional. The total aggregate amount so estimated as of the Effective Date shall be
used by the Debtor to determine the amount to be funded to the Professional Fee Escrow
Account.

   C. Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, in full and final satisfaction, compromise, settlement, release, and discharge
of, and in exchange for, each Allowed Priority Tax Claim, each holder of such Allowed Priority
Tax Claim shall receive treatment in a manner consistent with section 1129(a)(9)(C) of the
Bankruptcy Code.




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                         ARTICLE III.
                   TREATMENT AND CLASSIFICATION OF CLAIMS

   A. Classification of Claims

       All Claims against the Debtor of whatever nature, whether or not scheduled, liquidated or
unliquidated, absolute or contingent, or arising from the rejection or assumption of an Executory
Contract and/or Unexpired Lease, whether resulting in a Claim that is Allowed or not, shall be
bound by the provisions of the Plan. The Claims are hereby classified as follows:

    Class              Claim/Interest                 Status               Voting Rights
      1        Secured Claims                     Unimpaired        Not entitled to vote
                                                                    (presumed to accept)
      2        Other Priority Claims              Unimpaired        Not entitled to vote
                                                                    (presumed to accept)
      3        General Unsecured Claims           Impaired          Entitled to vote
      4        Subordinated Claims                Impaired          Not entitled to vote
                                                                    (deemed to reject)

   B. Treatment of Claims

      Holders of Claims classified in Article III.A that are Allowed shall be satisfied in the
manner set forth below.

       1.     Class 1 – Secured Claims.

              a. Classification. Class 1 consists of all Secured Claims.

              b. Treatment. EachAt the election of the UCC and the Sandy Hook Families, in
                 consultation with the Debtor, each holder of a Secured Claim that is Allowed
                 shall receive (i) payment in full in Cash on account of such holder’s Allowed
                 Secured Claim or (ii) affirmation of the Debtor’s obligations on such holder’s
                 Allowed Claim.

              c. Voting. Class 1 is Unimpaired under the Plan. Holders of Secured Claims
                 are conclusively presumed to have accepted the Plan pursuant to section
                 1126(f) of the Bankruptcy Code. Therefore, such holders are not entitled to
                 vote to accept or reject the Plan.

              d. Claimants. There are two Class 1 Claimants, (i) the Security Bank of
                 Crawford, which has Filed a Proof of Claim in the amount of $80,161.04
                 (Claim No. 2) and (ii) Bank of America, N.A., which has Filed a Proof of
                 Claim in the amount of $26,354.73 (Claim No. 22).

       2.     Class 2 – Other Priority Claims.

              a. Classification. Class 2 consists of all Other Priority Claims.



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      b. Treatment. Each holder of an Other Priority Claim that is Allowed shall
         receive payment in full in Cash on account of such holder’s Allowed Other
         Priority Claim.

      c. Voting. Class 2 is Unimpaired under the Plan. Holders of Other Priority
         Claims are conclusively presumed to have accepted the Plan pursuant to
         section 1126(f) of the Bankruptcy Code. Therefore, such holders are not
         entitled to vote to accept or reject the Plan.

      d. Claimants. Class 2 Claimants include one holder of a Priority DSO Claim
         who is not Erika Jones, including the Priority DSO Claim identified at item
         4.12 in the Schedules and Statements. Class 2 Claimants shall also include
         any other holders of Other Priority Claims. For the avoidance of doubt, Erika
         Jones is not entitled to any Priority DSO Claims or any Other Priority Claims
         and any Claim asserted by, or on behalf of, Erika Jones on the basis of the
         Premarital Agreement will be treated as a Class 4 Subordinated Claim.

3.    Class 3 – General Unsecured Claims.

      a. Classification. Class 3 consists of all General Unsecured Claims.

      b. Treatment. Each holder of a General Unsecured Claim that is Allowed shall
         be entitled to receive, at such holder'sholder’s election, which election shall
         occur no later than thirty (30) days after the Effective Date: (i) the holder’s
         pro rata share of the GUC Election Cash Pool, such pro rata share to be
         calculated based on the total amount of Allowed General Unsecured Claims
         held by holders that make such election, or (ii) the holder’s pro rata share of
         the GUC Trust Interests, such pro rata share to be calculated based on the
         aggregate amount of Allowed General Unsecured Claims that make such
         election. For the avoidance of doubt, however, any holder of a General
         Unsecured Claim that has waived that holder’s Claim is not entitled to such
         pro rata share under this Article III.B.3.b, and each holder of an Allowed
         General Unsecured Claim shall not be entitled to receive more than the
         Allowed amount of such Claim pursuant to the Plan.

      c. Voting. Class 3 is Impaired under the Plan. Holders of General Unsecured
         Claims are entitled to vote to accept or reject the Plan.

      d. Claimants. At present, there are twenty-fivetwenty-three Class 3 Claims,:
         (i) twenty-one Class 3 Claims Filed by or on behalf of individuals comprising
         the Sandy Hook Families; (ii) one Class 3 Claim held by American Express
         National Bank, which has Filed a Proof of Claim in the amount of
         $149,678.58 (Claim No. 1); (iii which shall be Allowed in the amounts set
         forth on Schedule 1 of the Plan; (ii) one Class 3 Claim held by Reeves Law,
         PLLC, which has Filed a Proof of Claim in the amount of $24,611.13
         (Claim No. 5); and (iviii) one Class 3 Claim held by the City of Austin, which
         has Filed a Proof of Claim in the amount of $86.60 (Claim No. 3). However,



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                   additional Claims may be Allowed General Unsecured Claims if filed by the
                   applicable Bar Date or other time period provided for by the Plan or an order
                   of the Bankruptcy Court, and otherwise Allowed.

       4.      Class 4 – Subordinated Claims.

               a. Classification. Class 4 consists of all Subordinated Claims.

               b. Treatment. Holders of Subordinated Claims, regardless of whether such
                  claims are Allowed, are not entitled to any distributions or to receive or retain
                  any property under the Plan.

               c. Voting. Class 4 is Impaired under the Plan. Holders of Subordinated Claims
                  are conclusively deemed to have rejected the Plan pursuant to section 1126(g)
                  of the Bankruptcy Code. Therefore, such holders are not entitled to vote to
                  accept or reject the Plan.

               d. Claimants. At present, there is one Class 4 Claimant, FSS, which has Filed a
                  Proof of Claim in the amount of $0.00 (Claim No. 26). However, additional
                  Claims may be Subordinated Claims if filed by the applicable Bar Date or
                  other time period provided for by the Plan, and otherwise Allowed. For the
                  avoidance of doubt, any Claim asserted by, or on behalf of, Erika Jones on the
                  basis of the Premarital Agreement will be treated as a Subordinated Claim.

                              ARTICLE IV.
                                   THE GUC TRUST

   A. The GUC Trust

       On or before the Effective Date, a trust shall be established for the benefit of holders of
General Unsecured Claims that elect to receive GUC Trust Interests (the “GUC Trust”). The
GUC Trust shall be governed and administered in accordance with the GUC Trust Agreement,
which sets forth, inter alia, the powers, authority, responsibilities, and duties of the GUC
Trustee.

       The purpose of the GUC Trust shall be the liquidation and administration of the GUC
Trust Assets and making distributions to holders of GUC Trust Interests in accordance with the
terms of the Plan and the GUC Trust Agreement.

   B. The GUC Trustee

        The GUC Trust shall be administered by a trustee who shall be chosen by the Sandy
Hook Families, in consultation with the Debtor and the UCC, in accordance with the GUC Trust
Agreement (the “GUC Trustee”). On or before the Effective Date, the GUC Trustee, on behalf
of the Debtor, shall execute the GUC Trust Agreement and shall take all other steps necessary to
establish the GUC Trust pursuant to the GUC Trust Agreement and consistent with the Plan. For
the avoidance of doubt, if, for any reason the individual or entity chosen to serve as the GUC
Trustee shall need to be replaced, the Sandy Hook Families shall appoint a subsequent GUC


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Trustee unless otherwise provided by the GUC Trust Agreement. The GUC Trust Agreement
shall establish an oversight committee (the “Litigation Committee”) consisting of members of
the Sandy Hook Families appointed in accordance with the terms of the GUC Trust Agreement
to oversee performance of the GUC Trustee’s duties with respect to the GUC Trust Assets and
otherwise serve the functions to be described in the Plan and the GUC Trust Agreement.

        The GUC Trustee shall be responsible for all decisions and duties with respect to the
GUC Trust Assets, subject to the authority granted to it under the Plan, the Confirmation Order,
and the GUC Trust Agreement, as applicable, and shall file with the Bankruptcy Court periodic
public reports on the status of claims reconciliation and distributions, which reports may be
included in the quarterly reporting required by the U.S. Trustee. In addition, the GUC Trustee
shall issue quarterly written reports and engage in update calls upon reasonable request with
representatives of the Debtor and Sandy Hook Families.

        The GUC Trustee shall owe fiduciary duties to all holders of GUC Trust Interests
consistent with the fiduciary duties a member of an official committee appointed pursuant to
section 1102 of the Bankruptcy Code owes to its constituents, and the Litigation Committee must
consent to any proposed material action, including any settlement in respect of any action, by the
GUC Trustee in accordance with the terms of the GUC Trust Agreement.

   C. Assignments

        On the Effective Date, the Nondischargeable Claims will be assigned to the GUC Trust
to the extent set forth in the GUC Trust Agreement.

   D. GUC Trust Assets

        On the Effective Date, all GUC Trust Assets to the extent available will vest in the GUC
Trust. For the avoidance of doubt, the Exempt Assets will not vest in the GUC Trust. Any
portion of the GUC Election Cash Pool that is not distributed to holders of General Unsecured
Claims that elect to receive their pro rata share of the GUC Election Cash Pool shall vest, on the
Effective Date or as soon as reasonably practicable thereafter, in the GUC Trust for the benefit of
holders of General Unsecured Claims that elect to receive GUC Trust Interests. The GUC Trust
Interests shall only be transferrable in the sole discretion of the GUC Trustee in accordance with
the terms of the GUC Trust Agreement.

        Under section 1141(b) of the Bankruptcy Code, the GUC Trust Assets shall be assigned,
transferred, and vest in the GUC Trust upon the occurrence of the Effective Date, free and clear
of all Claims, Liens, encumbrances, and interests; provided, however, that the GUC Trustee may
abandon or otherwise not accept any assets that the GUC Trustee believes, in good faith, to have
no value to, or will be unduly burdensome to, the GUC Trust in accordance with the terms of the
GUC Trust Agreement. Any assets that the GUC Trustee so abandons (whether before or after
the Effective Date) or otherwise does not accept shall not be GUC Trust Assets. , and ownership
thereof shall revert to the prior owner; provided, further, that to the extent the
Nondischargeability Decisions are overturned, the ability of the GUC Trustee or the Sandy Hook
Families, as applicable, to pursue the Nondischargeable Claims shall be limited accordingly.
The rights of each of the Debtor, the Texas Plaintiffs, the Connecticut Plaintiffs and the GUC



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Trustee are expressly preserved with respect to the Nondischargeability Decisions and any
appeals thereof.

   E. Litigation Assets

       The following assets constitute “Litigation Assets” and will vest in the GUC Trust and be
administered by the GUC Trustee in accordance with the terms described herein and in the GUC
Trust Agreement:

        1.     Initial Litigation Funding. A total of $500,000 in Cash, which shall be funded
by Jones’s Estate to the GUC Trust for administrative expenses in connection with administering
the Litigation Assets; provided that the source and manner of funding shall be acceptable to the
GUC Trustee; provided, further, that a portion of the proceeds from liquidation of the Litigation
Assets may be retained by the GUC Trustee in its discretion as continued funding for
administration of the Litigation Assets.

        2.      Trust Causes of Action. All Causes of Action (a) belonging to Jones’s Estate
(including those belonging to the Jones Trusts, or seeking to recover assets from a trust
otherwise believed to constitute property of the Estate), whether or not initially asserted prior to
Confirmation, including, but not limited to, any estate claims or causes of action against or
related to Jones, any Insider or Affiliate of Jones, and (b) and the claims and Causes of Action
listed on the Schedule of Preserved Causes of Action included in the Plan Supplement, and (b) to
the extent property of the Debtor’s estate, the Texas State Court fraudulent conveyance action
filed by Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel
Fontaine previously removed and then transferred to the Bankruptcy Court (together, such
Causes of Action, the “Trust Causes of Action”).

     3.      Release Settlement Payments. All Release Settlement Payments made to the
GUC Trust shall immediately vest in the GUC Trust upon payment.

        4.      Books & Records. Jones’sJones shall provide access to a database containing
books and records related to prepetition transfer of Estate assets and related Causes of Action in
his possession, custody or control, including all documents, communications, and information of
Jones, any Jones Trusts, and any entities owned or controlled by Jones, including such
documents, communications, and information protected by the attorney-client privilege, the
work-product privilege, or any other applicable evidentiary privileges pertaining in any way to
the Litigation Assets consistent with the transfer of Privileges under this Plan. All discovery
obtained by the UCC during the Chapter 11 Case shall be transferred by the UCC to the GUC
Trust., regardless of the original confidentiality designation. In addition, any analysis performed
by the UCC during the Chapter 11 Case may be transferred by the UCC to the GUC Trust, as
appropriate.

        5.     Investigative Powers. The GUC Trust and the GUC Trustee will retain the right
to conduct any discovery related to the acts, conduct, or property, or to the liabilities and
financial condition of Jones, or to any matter which may affect the administration of Jones’s
Estate or any Trust Causes of Action, or to Jones’s right to a discharge, under Bankruptcy Rule
2004, to the full extent that such powers were available prior to the Effective Date.


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Notwithstanding the foregoing, the Debtor’s professionals reserve the right to seek reasonable
fees and expenses from the GUC Trust for time spent on discovery to the extent that it is
duplicative of work performed by the Debtor during the Chapter 11 Case and the GUC Trust
reserves the right to challenge any such request. For the avoidance of doubt, the Bankruptcy
Court shall retain jurisdiction to decide all such requests and/or challenges.

        6.      Audit Powers. The GUC Trust or the GUC Trustee may retain a professional to
conduct financial audits of Jones as necessary and request information from applicable third
parties in connection with the same (including Erika Jones and David Jones) to ensure the
veracity of financial disclosures.

       76.     Privileges. All privileges in respect of the Trust Causes of Action, including the
attorney-client privilege, held by Jones shall transfer to the GUC Trust to the fullest extent
permitted under applicable law; provided, however, that privileges related to the litigation of the
Nondischargeability Decisions, including any appeals thereof, shall not transfer to the GUC
Trust.

   F. Confidentiality

       The GUC Trustee shall be deemed a party to the Protective Order and shall be permitted
to receive Discovery Material, Confidential Material, and Professionals’ Eyes Only Material
(each as defined in the Protective Order) in accordance with the terms thereof.

   G. Tax Treatment of GUC Trust Under Applicable Laws

        The GUC Trust is intended to be treated, and shall be reported, as a “qualified settlement
fund” within the meaning of section 468B of the Internal Revenue Code and Treasury
Regulations section 1.468B-1 for U.S. federal income tax purposes and shall be treated
consistently for state and local tax purposes to the extent applicable. The GUC Trustee shall be
the “administrator” of the GUC Trust within the meaning of Treasury Regulations section
1.468B-2(k)(3). Notwithstanding the foregoing provisions of this Article IV.G, (a) the GUC
Trust shall be implemented with the objective of maximizing tax efficiency to the holders of
GUC Trust Interests and (b) to the extent that the GUC Trust is not expected to be treated as a
“qualified settlement fund” under applicable law or in the event of a final determination under
section 1313(a) of the Internal Revenue Code that the GUC Trust does not qualify as a “qualified
settlement fund,” the holders of GUC Trust Interests and the GUC Trustee intend that the GUC
Trust be treated as a partnership, liquidating trust, or other tax-efficient entity for U.S. federal
income tax purposes and will take all actions reasonably necessary to cause the GUC Trust to be
treated as such a partnership or other tax-efficient entity.

       The GUC Trustee shall be responsible for filing all tax returns of the GUC Trust and the
payment, out of the assets of the GUC Trust in accordance with the GUC Trust Agreement, of
any taxes due by or imposed on the GUC Trust. The GUC Trustee may request an expedited
determination of taxes under section 505(b) of the Bankruptcy Code for all tax returns filed by or
on behalf of the GUC Trust for all taxable periods through the dissolution thereof. Nothing in
this Article IV.G shall be deemed to determine, expand, or contract the jurisdiction of the
Bankruptcy Court under section 505 of the Bankruptcy Code.



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   H. Transferability and Certain Securities Law Matters

        Unless the GUC Trust Agreement expressly provides otherwise, any and all GUC Trust
Interests shall be non-transferable other than if transferred by will, intestate succession, or
otherwise by operation of law. In addition, any and all GUC Trust Interests will not be registered
pursuant to the Securities Act or any applicable state or local securities law pursuant to section
1145 of the Bankruptcy Code, and will be exempt from the Investment Company Act of 1940, as
amended, pursuant to sections 7(a) and 7(b) of that Act and section 1145 of the Bankruptcy
Code.

   I. Retention of Professionals

        The GUC Trustee, upon consultation with the UCC prior to the Effective Date, may enter
into employment agreements and retain professionals, including any necessary accountants,
attorneys, financial advisors, or other consultants, in furtherance of the administration of the
assets of the GUC Trust, without further order of the Bankruptcy Court.

                                ARTICLE V.
                   TREATMENT OF NONDISCHARGEABLE CLAIMS

        The Plan will not discharge any Nondischargeable Claim and the rights of the Sandy
Hook Families, acting through the GUC Trust or otherwise, to exercise all rights, remedies, and
other legal entitlements, whether arising under state, federal, or foreign law, with respect to the
Nondischargeable Claims are expressly preserved and nothing to the contrary in the Plan will
limit, affect, or otherwise impact such rights; provided that no individual holder of any Sandy
Hook Family Claim shall be entitled to receive more than the aggregate Allowed amount of such
Holder’s Sandy Hook Family Claim on account of such Claims pursuant to the Plan.

                              ARTICLE VI.
                              MEANS OF IMPLEMENTATION

       The Plan will be implemented in accordance with the following provisions:

   A. Plan Distributions

       1.     Distributions to holders of Allowed Priority Claims. Distributions to holders
of Allowed Priority Claims will be made as follows:

               a. Professional Fee Claims. The amount of Professional Fee Claims owing to
                  the Professionals shall be paid in Cash to the applicable Professionals from
                  the funds held in the Professional Fee Escrow Account as soon as reasonably
                  practicable after such Professional Fee Claims are Allowed by a Final Order
                  of the Bankruptcy Court. To the extent the funds held in the Professional Fee
                  Escrow Account are insufficient to satisfy the Allowed Amount of
                  Professional Fee Claims owing to the Professionals, such Professionals shall
                  have an Allowed Administrative Claim for any such deficiency, which shall




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                   be satisfied by the GUC Trustee in Cash once Allowed or as soon as
                   reasonably practicable thereafter.

               b. Priority Tax Claims and Administrative Claims. Holders of Allowed Priority
                  Tax Claims and Allowed Administrative Claims shall receive Cash, which
                  shall be satisfied by the GUC Trustee once Allowed or as soon as reasonably
                  practicable thereafter.

        2.     Distributions to holders of Allowed Secured Claims. Distributions toTo the
extent applicable, holders of Allowed Secured Claims will be made on the Effective Dateshall
receive Cash, which shall be satisfied in Cash once Allowed or as soon as reasonably practicable
thereafter.

        3.     Distributions to holders of Other Priority Claims. Holders of Allowed Other
Priority Claims shall receive Cash, which shall be satisfied by the GUC Trustee once Allowed or
as soon as reasonably practicable thereafter.

        4.      Distributions to holders of Allowed General Unsecured Claims. Holders of
Allowed General Unsecured Claims shall receive, at their election, either (a) satisfaction of their
pro rata share of the General Unsecured Claim Cash Pool in full in Cash on the Effective Date,
or as soon as reasonably practicable thereafter, or (b) their pro rata share of GUC Trust Interests
in accordance with the provisions of Article III and Article IV herein.

   B. Jones Transfer Obligation

        Jones shall be fully responsible for takingtake all necessary actions required to vest the
GUC Trust Assets in the GUC Trust, including cooperating in good faith with the GUC Trustee,
the UCC, and the Sandy Hook Families, as applicable, with respect to requests for facts and
information concerning Jones’s assets, rights, claims, interests, and/or Causes of Action
(including prepetition transfers that could give rise to Causes of Action) that may constitute
GUC Trust Assets (the “Jones Transfer Obligation”). The Jones Transfer Obligation begins on
the Confirmation Date and must be completed in full no later than 30 (thirty) days after the
Confirmation Date or by such later date as may be agreed to by the Sandy Hook Families and the
GUC Trustee prior to such deadline; provided that, following such deadline, Jones shall be
required to cooperate in good faith with the GUC Trustee, the UCC, and the Sandy Hook
Families, as applicable, with respect to requests for facts and information concerning Jones’s
assets, rights, claims, interests, and/or Causes of Action (including prepetition transfers that
could give rise to Causes of Action) that may constitute GUC Trust Assets. To the extent that
Jones fails or refuses to comply with the Jones Transfer Obligation, there shall be no limitation
on the rights and ability ofincluding through the omission of material information, the Sandy
Hook Families, the GUC Trustee, and/or the UCC tomay petition any court of competent
jurisdictionthe Bankruptcy Court to enforce the Jones Transfer Obligation pursuant to section
1142(b) of the Bankruptcy Code, any other provision of the Bankruptcy Code, or applicable
non-bankruptcy law or to seek any other appropriate remedies under the Bankruptcy Code or
applicable non-bankruptcy law.




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   C. Jones Full Disclosure

        No later than thirty (30) days after the Confirmation Date, Jones shall provide an affidavit
(the “Jones Full Disclosure”) containing all facts and information concerning his assets, rights,
claims, interests, and/or any Causes of Action, held either directly or indirectly and including the
assets set forth on the Exempt Asset Schedule, and any transfers of the Debtor’s property
exceeding $5,000 as to a gift for no exchange of goods or services and $25,000 as to all other
transfers in the ten (10) years prior to the Petition Date and running through the Effective Date.
Discovery of any Material Misstatement in the Jones Full Disclosure shall (a) void any discharge
granted under the Plan, and (b) subject Jones to all penalties available under applicable law.

        “Material Misstatement” means an omission by Jones or his representatives to disclose
in the Jones Full Disclosure (a) an asset, right, claim, interest, or Cause of Action of the estate,
held either directly or indirectly and including the assets set forth on the Exempt Asset Schedule,
that reasonably could be argued to have a value of $5,000 or more; (b) any voluntary or
involuntary transfer of cash or property within the ten (10) years prior to the Petition Date that
reasonably could be determined to have a value of $5,000 or more that was not made in
exchange for any service, product or other asset; or (c) any other voluntary or involuntary
transfer of cash or property within the ten (10) years prior to the Petition Date that reasonably
could be argued to have a value of $25,000 or more. It shall not be a defense to a Material
Misstatement that the subject asset(s) or transfer(s) were omitted inadvertently or based on good
faith or mistaken judgment.

   DC.         Additional Obligations

        Jones shall cooperate in good faith with the Sandy Hook Families, the UCC, the GUC
Trustee, the Jones Estate, FSS, and their respective representatives, in carrying out the terms of
the Plan, including by responding timely to reasonable discovery requests in connection with
actions by the GUC Trustee and cooperating in pursuing and obtaining any tax refund or, royalty
amounts, or other similar revenue to which Jones or the GUC Trust is entitled to as of the
Effective Date.

       Prior to the Effective Date, Jones shall also provide reasonable notice to the UCC in
advance of the formation and/or incorporation of any trust or other entity on his behalf, or from
which he expects to potentially receive distributions, dividends, or other payments, or in which
he owns a direct or indirect beneficial interest.

   ED.         Premarital Agreement

       Jones shall, in any event, cooperate with the GUC Trustee’s efforts to investigate and
pursue any Causes of Action arising from or related to payments made pursuant to the Premarital
Agreement for the benefit of the GUC Trust.

      The GUC Trustee shall have the right to challenge the Premarital Agreement and any
payments or transfers made thereunder as of the Effective Date for the benefit of the GUC Trust.




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   FE.Dissolution of Statutory Committees and Cessation of Fee and Expense Payment

        On the Effective Date, any statutory committee appointed in this Chapter 11 Case shall
dissolve automatically and the members thereof shall be released and discharged from all rights
and duties arising from, or related to, this Chapter 11 Case, except that the UCC will stay in
existence solely for the limited purposes of (a) receiving payment for its fees and expenses,
including filing and prosecuting final fee applications of UCC Professionals and (b) participating
in any appeals of the Confirmation Order. The Debtor, the Estate, and the GUC Trust shall not
be responsible for paying any fees or expenses incurred by any statutory committee appointed in
this Chapter 11 Case after the Effective Date.

   F. Filing Reports and Payment of Statutory Fees


        Prior to the Effective Date, Jones shall file with the Bankruptcy Court monthly reports in
a form reasonably acceptable to the U.S. Trustee. On and after the Effective Date, the GUC
Trustee shall file with the Bankruptcy Court quarterly reports in a form reasonably acceptable to
the U.S. Trustee. All fees payable pursuant to section 1930(a) of the Judicial Code, including
fees and expenses payable to the U.S. Trustee, as determined by the Bankruptcy Court at a
hearing pursuant to section 1128 of the Bankruptcy Code, will be paid by Jones for fees accruing
prior to the Effective Date and by the GUC Trustee for fees accruing following the Effective
Date for each quarter (including any fraction thereof) until this Chapter 11 Case is converted,
dismissed, or closed, whichever occurs first.


                             ARTICLE VII.
                         PROCEDURES FOR DISPUTED CLAIMS

   A. Objections to Prepetition Claims

       As of the Effective Date, objections to, and requests for estimation of, Claims against the
Debtor may only be interposed and prosecuted by the GUC Trustee. Such objections and
requests for estimation shall be served and filed on or before the Claims Objection Bar Date.

   B. Allowance of Claims

        After the Effective Date, the GUC Trustee shall have and shall retain any rights and
defenses that the Debtor had with respect to any Claim, except with respect to any Claim deemed
Allowed under the Plan or Allowed by Final Order prior to the Effective Date. Except as
expressly provided in the Plan or in any order entered in the Chapter 11 Case prior to the
Effective Date, including the Confirmation Order, no Claim shall become an Allowed Claim
unless and until such Claim is deemed Allowed under the Plan or the Bankruptcy Code or the
Bankruptcy Court has entered a Final Order, including the Confirmation Order, in the Chapter 11
Case allowing such Claim.




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   C. Estimation of Claims

        The GUC Trustee may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether any party in interest previously objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall
constitute either the Allowed amount of such Claim or a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation
on the amount of such Claim, the GUC Trustee may pursue supplementary proceedings to object
to the Allowance of such Claim. All of the aforementioned objection, estimation, and resolution
procedures are intended to be cumulative and not exclusive of one another. Claims may be
estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

   D. No Distributions Pending Allowance

       No payment or distribution provided under the Plan shall be made on account of a
Disputed Claim unless and until such Disputed Claim becomes an Allowed Claim.

   E. Resolution of Claims

        Except as otherwise provided herein (including the release provisions hereof) or in the
GUC Trust Agreement, Confirmation Order, or in any contract, instrument, release, or other
agreement or document entered into in connection with the Plan, in accordance with
section 1123(b) of the Bankruptcy Code, on and after the Effective Date, the GUC Trustee may
enforce, sue on, settle, or compromise (or decline to do any of the foregoing) all Claims,
Disputed Claims, rights, Causes of Action, suits and proceedings, whether in law or in equity,
whether known or unknown, that the GUC Trustee may hold against any person, and any
contract, instrument, release, indenture, or other agreement entered into in connection herewith.
The GUC Trustee may pursue any retained Claims, rights, Causes of Action, suits, or
proceedings, as appropriate, in accordance with the Plan and the GUC Trust Agreement.

   F. Retained Amounts

        The GUC Trustee shall withhold and retain from distribution (a) an amount sufficient to
pay holders of Disputed Claims the amount such holders would be entitled to receive under the
Plan if such Claims were to become Allowed Claims, (b) such lesser amount as estimated by the
Bankruptcy Court, or (c) such lesser amount as agreed to between the GUC Trustee and the
holders thereof. As Disputed Claims are resolved pursuant to Article VII hereof, the GUC
Trustee shall make distributions on account of such Disputed Claims as if such Disputed Claims
were Allowed Claims as of the Effective Date. Such Distributions shall be made on the first
Distribution Date that is at least forty-five (45) days after the date on which a Disputed Claim
becomes an Allowed Claim, or on an earlier date selected by the GUC Trustee in its sole
discretion.




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   G. Late Filed Claims

       Except as otherwise provided herein or as agreed by the GUC Trustee, any Proof of
Claim filed after the Bar Date with respect to such Claim shall be deemed Disallowed and
expunged as of the Effective Date without any further notice to or action, order, or approval of
the Bankruptcy Court, and holders of such Claims may not receive any distributions on account
of such Claims, unless such late Proof of Claim has been deemed timely filed by a Final Order.

   H. Amendments to Claims

        A Claim may not be filed, amended, or supplemented without the prior written
authorization of the Bankruptcy Court or the GUC Trustee, and any such new, amended, or
supplemented Claim filed shall be deemed Disallowed in full and expunged without any further
notice to or action, order, or approval of the Bankruptcy Court to the maximum extent permitted
by applicable law.

                          ARTICLE VIII.
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   A. Rejection of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan or in any contract,
instrument, release, indenture, or other agreement or document entered into in connection with
the Plan, all Executory Contracts and Unexpired Leases shall be deemed rejected, without the
need for any further notice to or action, order, or approval of the Bankruptcy Court, as of the
Effective Date under section 365 of the Bankruptcy Code, and regardless of whether or not such
Executory Contract or Unexpired Lease is identified on the Schedule of Rejected Executory
Contracts and Unexpired Leases, unless such Executory Contract or Unexpired Lease: (a) was
previously assumed or rejected by the Debtor, pursuant to a Final Order of the Bankruptcy Court;
(b) previously expired or terminated pursuant to its own terms or by agreement of the parties
thereto; (c) is the subject of a motion to assume, assume and assign, or reject filed by the Debtor
on or before the date of entry of the Confirmation Order; or (d) with the consent of the UCC, is
specifically designated as a contract or lease to be assumed on the Schedule of Assumed
Executory Contracts and Unexpired Leases. Each Executory Contract and Unexpired Lease
assumed pursuant to this Article VIII.A of the Plan or by any order of the Bankruptcy Court,
which has not been assigned to a third party prior to the Effective Date, shall revest in and be
fully enforceable by Jones in accordance with its terms, except as such terms are modified by the
provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its
assumption under applicable federal law.

        Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the
occurrence of the Effective Date, constitute a Final Order approving the assumptions and/or
rejections of the Executory Contracts and Unexpired Leases assumed, assumed and assigned,
and/or rejected pursuant to the Plan. Any motions to assume Executory Contracts or Unexpired
Leases pending on the Effective Date shall be subject to approval by the Bankruptcy Court on or
after the Effective Date by a Final Order.




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        Notwithstanding anything to the contrary in the Plan, the UCC, in consultation with the
Debtor, reserves the right to alter, amend, modify, or supplement the Schedule of Assumed
Executory Contracts and Unexpired Leases and/or the Schedule of Rejected Executory Contracts
and Unexpired Leases to add or remove any Executory Contract or Unexpired Lease at any time
prior to the Effective Date. The UCC shall provide notice of any amendments to the Schedule of
Assumed Executory Contracts and Unexpired Leases and/or the Schedule of Rejected Executory
Contracts and Unexpired Leases to the parties to the Executory Contracts or Unexpired Leases
affected thereby.

        For the avoidance of doubt, the Premarital Agreement shall be rejected under the Plan,
and all Claims arising thereunder shall be treated as Subordinated Claims.

   B. Claims Based on Rejection of Executory Contracts or Unexpired Leases

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Bankruptcy Court
within thirty (30) days after the later of (a) the date of notice of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection; (b) the effective
date of such rejection; or (c) the Effective Date. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such
time may be Disallowed, forever barred from assertion, and may not be enforceable
against the Debtor, the Debtor’s Estate, or its property. For the avoidance of doubt, the
notice of the occurrence of the Effective Date served on all parties in interest shall include
provisions setting forth the deadline for filing Proofs of Claim with respect to Claims arising
from the rejection of Executory Contracts or Unexpired Leases pursuant to the Plan and
Confirmation Order.

        The UCC and the Sandy Hook Families, in consultation with the Debtor, prior to the
Effective Date and the GUC Trustee, in consultation with the Debtor, on and after the Effective
Date reserve the right to classify and treat any Claims arising from the rejection of the Debtor’s
Executory Contracts or Unexpired Leases as Subordinated Claims.

   C. Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

        Any monetary defaults under each Executory Contract and Unexpired Lease to be
assumed or assumed and assigned pursuant to the Plan and the Confirmation Order shall be
satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash on the Effective Date, subject to the limitation described below, or on such other
terms as the parties to such Executory Contracts or Unexpired Leases may otherwise agree
(the “Cure Amount”). In the event of a dispute regarding (a) the amount of any payments to
cure such a default; (b) the ability of the Debtor, as applicable, to provide “adequate assurance of
future performance” (within the meaning of section 365 of the Bankruptcy Code) under the
Executory Contract or Unexpired Lease to be assumed or assumed and assigned; or (c) any other
matter pertaining to assumption, the cure payments required by section 365(b)(1) of the
Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the
dispute and approving the assumption or assumption and assignment. At least ten (10) calendar


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days prior to the deadline to object to Confirmation of the Plan, the UCC shall provide for
notices of proposed assumption or assumption and assignment and proposed Cure Amounts to be
sent to applicable counterparties and for procedures for objecting thereto and resolution of
disputes by the Bankruptcy Court. Any objection by a counterparty to an Executory
Contract or Unexpired Lease to a proposed assumption or assumption and assignment or
related Cure Amount must be Filed, served, and actually received by the UCC and the
Debtor by the deadline to object to Confirmation of the Plan. Any counterparty to an
Executory Contract or Unexpired Lease that fails to object timely to the proposed
assumption, or proposed assumption and assignment, or Cure Amount will be deemed to
have consented to such matters and will be deemed to have forever released and waived
any objection to such proposed assumption, proposed assumption and assignment, and
Cure Amount. To the extent an Executory Contract or Unexpired Lease is deemed rejected
pursuant to Article VIII.A hereof, but the subject counterparty did not receive notice of such
rejection by the UCC and the Debtor, such counterparty shall be afforded the ability to dispute
whether such assumption satisfies the requirements of Section 365(b) of the Bankruptcy Code;
provided that, to the extent the UCC, in consultation with the Debtor, and the subject
counterparty are unable to consensually resolve any such dispute or the Court determines a Cure
Amount in an adverse manner to the UCC, the UCC, in consultation with the Debtor, may deem
such Executory Contract or Unexpired Lease to be rejected as of the Effective Date.

        Assumption or assumption and assignment of any Executory Contract or Unexpired
Lease pursuant to the Plan shall result in the full release and satisfaction of any Claims or
defaults, whether monetary or nonmonetary, including defaults of provisions restricting the
change in control or ownership interest composition or other bankruptcy-related defaults, arising
under any assumed or assumed and assigned Executory Contract or Unexpired Lease at any time
prior to the effective date of assumption or assumption and assignment, as applicable. Any
counterparty to an Executory Contract or Unexpired Lease that does not timely object to the
notice of the proposed assumption or assumption and assignment of such Executory Contract or
Unexpired Lease shall be deemed to have consented to the assumption or assumption and
assignment, as applicable, of the applicable Executory Contract or Unexpired Lease
notwithstanding any provision thereof that purports to: (a) prohibit, restrict, or condition the
transfer or assignment of such contract or lease; (b) terminate or modify, or permit the
termination or modification of, a contract or lease as a result of any direct or indirect transfer or
assignment of the rights of the Debtor under such contract or lease or a change, if any, in the
ownership or control of the Debtor under such contract or lease to the extent contemplated by the
Plan; (c) increase, accelerate, or otherwise alter any obligations or liabilities of the Debtor under
such Executory Contract or Unexpired Lease; or (d) create or impose a Lien upon any property
or asset of the Debtor. Each such provision shall be deemed to not apply to the assumption or
assumption and assignment of such Executory Contract or Unexpired Lease pursuant to the Plan
and counterparties to assumed Executory Contracts or Unexpired Leases that fail to object to the
proposed assumption or assumption and assignment in accordance with the terms set forth in this
Article VIII.C, shall forever be barred and enjoined from objecting to the proposed assumption or
assumption and assignment or to the validity of such assumption or assumption and assignment
(including with respect to any Cure Amounts or the provision of adequate assurance of future
performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on account
of transactions contemplated by the Plan.



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                           ARTICLE IX.
                         RETENTION OF EXEMPT PROPERTY

       All of the Exempt Assets shall be retained by Jones.

                                   ARTICLE X.
                            RELEASES AND EXCULPATIONS

   A. Releases

        Notwithstanding anything contained in the Plan to the contrary, pursuant to
section 1123(b) of the Bankruptcy Code, in exchange for good and valuable consideration,
the adequacy of which is hereby confirmed, each Released Party is deemed to be, hereby
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged
by the Releasing Parties, as applicable, from any and all claims and Causes of Action
asserted by or assertable on behalf of the Releasing Parties, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, contingent or
non-contingent, in law, equity, contract, tort or otherwise except for claims or Causes of
Action related to any act or omission that is determined by a Final Order to have
constituted willful misconduct, gross negligence, or actual fraud. Notwithstanding
anything to the contrary in the foregoing, the releases set forth above do not release any
post-Effective Date obligations of any party or Entity under the Plan, the Confirmation
Order, or any document, instrument, or agreement executed to implement the Plan or any
Claim or obligation arising under the Plan. For the avoidance of doubt, Jones shall not be
a Released Party and there shall be no release or exculpation of the Trust Causes of Action,
the Nondischargeable Claims, or any other Claims or Causes of Action against Jones,
non-minor members of his immediate family, or each of their respective Insiders or
Affiliates, as applicable, subject to the ability of Insiders and Affiliates of Jones to become
a Released Party by making a Release Settlement Payment.

        No person or entity may commence or pursue a Claim or Cause of Action of any
kind against any of the Released Parties that relates to or is reasonably likely to relate to
any act or omission in connection with, relating to, or arising out of a Claim or Cause of
Action related to the Chapter 11 Case prior to the Effective Date, the formulation,
preparation, dissemination, negotiation, or filing of the Specific Disclosure Statement, this
Plan, the Plan Supplement, the pursuit of Confirmation, the administration and
implementation of this Plan, or the distribution of property under this Plan, the GUC
Trust Agreement or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date related or relating to any of the foregoing, without regard to whether such person or
entity is a Releasing Party, without the Bankruptcy Court (i) first determining, after notice
and a hearing, that such Claim or Cause of Action represents a colorable claim of any kind
and (ii) specifically authorizing such person or entity to bring such Claim or Cause of
Action against any such Released Party. The Bankruptcy Court will have sole and
exclusive jurisdiction to adjudicate the underlying colorable claim or cause of action. At
the hearing for the Bankruptcy Court to determine whether such Claim or Cause of Action
represents a colorable claim of any kind, the Bankruptcy Court may direct that such


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person or entity seeking to commence or pursue such Claim or Cause of Action file a
proposed complaint with the Bankruptcy Court embodying such Claim or Cause of Action,
such complaint satisfying the applicable Federal Rules of Civil Procedure, including, but
not limited to, Rule 8 and Rule 9 (as applicable), which the Bankruptcy Court shall assess
before making a determination.

        Nothing in the Plan Documents shall: (i) discharge or release the Debtor, any
“Released Party,” any non-Debtor, or any other person from any right, Claim, liability, or
Cause of Action of or to the United States, or any state or local authority; (ii) impair the
ability of the United States or any state or local authority from pursuing any Claim,
liability, right, defense, or Cause of Action against the Debtor, any “Released Party,” any
non-Debtor, or any other person; (iii) cause the United States or any state or local
authority to be a Releasing Party under the Plan Documents; (iv) be construed as a
compromise or settlement of any Claim, interest, or Cause of Action of the United States or
any              state          or            local           authority;
(v) affect or impair the exercise of the United States’ or any state or local authority’s police
and regulatory powers; (vi) constitute an approval or consent by the United States or any
state or local authority without compliance with all applicable legal requirements and
approvals under non-bankruptcy law; or (vii) exculpate any party or person from any
liability to the United States or any state or local authority whatsoever.

   B. Exculpations

       Except as otherwise specifically provided in the Plan, no Exculpated Party shall
have or incur liability for, and each Exculpated Party is hereby released and exculpated
from, any Cause of Action or Claim whether direct or derivate related to any act or
omission in connection with, relating to, or arising out of the Chapter 11 Case from the
Petition Date to the Effective Date, the formulation, preparation, dissemination,
negotiation, or Filing of the Plan, the Specific Disclosure Statement, the Plan Supplement,
or any contract, instrument, release, or other agreement or document created or entered
into before or during the Chapter 11 Case in connection with the Plan, any preference,
fraudulent transfer, or other avoidance Claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the Filing of the Chapter 11 Case, the pursuit of
Confirmation, the pursuit of consummation of the Plan, the administration and
implementation of the Plan, including the issuance of GUC Trust Interests pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or
upon any other act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date related or relating to any of the foregoing, except for
Claims related to any act or omission that is determined in a Final Order to have
constituted willful misconduct, gross negligence, or actual fraud, but in all respects such
Exculpated Parties shall be entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities pursuant to the Plan and the Confirmation
Order.

       The Exculpated Parties set forth above have, and upon Confirmation of the Plan,
shall be deemed to have, participated in good faith and in compliance with applicable law
with respect to the solicitation of votes and distribution of consideration pursuant to


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the Plan and, therefore, are not and shall not be liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

                     ARTICLE XI.
      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVENESS

   A. Conditions to Confirmation

        It shall be a condition to Confirmation of the Plan that the following condition shall have
been satisfied or waived; provided that such condition may be waived only by the Texas
Plaintiffs and the Connecticut Plaintiffs jointly.

        1.     By no later than May 31, 2024, Schedule 1 to the Plan, which shall provide the
allowed amount of the Sandy Hook Families’ claims for purposes of distribution under the Plan,
shall have been agreed upon by the Texas Plaintiffs and the Connecticut Plaintiffs and filed with
the Bankruptcy Court.

   B. Conditions to Effectiveness

       It shall be a condition to the Effective Date of the Plan that the following conditions shall
have been satisfied or waived,; provided that the UCC may, in its sole discretion, waive any such
condition.

      1.     The GUC Trust shall be established in accordance with the GUC Trust
Agreement and the GUC Trust Assets, to the extent available, shall have vested therein;

       2.      The Professional Fee Escrow Account shall have been funded;

       3.      Jones shall have complied with his obligation to deliver the Jones Full Disclosure;

        43.     theThe Bankruptcy Court shall have approved the Specific Disclosure Statement
on a final basis, which may be approved by the Confirmation Order; and

       54.     The Bankruptcy Court shall have entered the Confirmation Order, which shall be
a Final Order, in form and substance reasonably acceptable to the UCC. and the Sandy Hook
Families, in consultation with the Debtor, and the Confirmation Order shall, among other things,
approve the nondischargeability of the Nondischargeable Claims and authorize the
implementation of the Plan in accordance with its terms.




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                               ARTICLE XII.
                              RETENTION OF JURISDICTION

       Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising out of, or related to, the Chapter 11 Case, the Plan and the Confirmation Order
pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

        1.     classify, allow, or disallow Claims and direct distributions of funds under the Plan
and to hear and determine any controversies pertaining thereto;

       2.      hear and determine any and all applications and adversary proceedings and other
matters arising out of or related to the Plan;

       3.     enter and implement such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, or vacated;

        4.      liquidate or estimate damages or determine the manner and time for such
liquidation or estimation in connection with any contingent or unliquidated Claim;

       5.      adjudicate all Claims to any Lien on any property or any proceeds thereof;

        6.     decide and resolve all matters related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan;

       7.      hear matters related to the GUC Trust, including, without limitation, discovery
matters under Bankruptcy Rule 2004 and matters pertaining to the GUC Trust Assets and the
scope thereof;

        8.    adjudicate, decide, or resolve any and all matters related to Causes of Action that
may arise from or in connection with the consummation, interpretation, or enforcement of the
Plan or any Entity’s obligations incurred in connection therewith;

        9.     hear and determine disputes arising in connection with the interpretation,
implementation, effect, or enforcement of the Plan, the Plan Supplement, including disputes
arising under agreements, documents, or instruments executed in connection with the Plan;

        10.    adjudicate, decide, or resolve matters concerning state, local, and U.S. federal
taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

       11.     enforce all orders, judgments, injunctions, releases, exculpations,
indemnifications, and rulings entered in connection with the Chapter 11 Case with respect to any
person or Entity, and resolve any cases, controversies, suits, or disputes that may arise in
connection with any person or Entity’s rights arising from or obligations incurred in connection
with the Plan;




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       12.     hear and determine any disputes concerning Material Misstatements;

       1312. hear and determine any disputes concerning the Jones Transfer Obligation;

       1413. hear and determine all disputes involving the existence, nature, scope, or
enforcement of any exculpations, discharges, injunctions, and releases granted in the Plan,
including under Article XIArticle X of the Plan and the nondischargeability of any Claims; and

       1514. adjudicate, decide, or resolve matters brought pursuant to section 1142(b)
concerning the delivery and execution of documents required to effect transfers of property
necessary for consummation of transactions contemplated by the Plan, the Plan Supplement, or
the GUC Trust Agreement.

                                ARTICLE XIII.
                                MODIFICATION OF PLAN

        The UCC and the Sandy Hook Families, in consultation with the Debtor, may propose
amendments or modifications of the Plan at any time prior to Confirmation, without leave of the
Bankruptcy Court, so long as such amendment or modification meets the requirements of section
1127(a) of the Bankruptcy Code and does not constitute a material modification of the Plan
requiring additional disclosure under section 1125 of the Bankruptcy Code. After the
Confirmation Date, the UCC and the Sandy Hook Families may, in consultation with the Debtor
and with approval of the Bankruptcy Court, and so long as it does not materially or adversely
affect the interests of holders of Claims, remedy any defect or omission, or reconcile any
inconsistencies in the Plan or in the Confirmation Order in such manner as may be necessary to
carry out the purposes and effect of the Plan.

                               ARTICLE XIV.
                              MISCELLANEOUS PROVISIONS

   A. Immediate Binding Effect

        Upon the occurrence of the Effective Date, the terms of the Plan shall be immediately
effective and enforceable and deemed binding upon Jones and any and all holders of Claims
(irrespective of whether their Claims are deemed to have accepted the Plan), all Entities that are
parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor
parties to Executory Contracts and Unexpired Leases with Jones.

   B. Discharge

        The provisions of the Plan will bind Jones and all holders of Claims against Jones,
whether or not they accept the Plan. On the Effective Date, all holders of Claims will be
precluded and enjoined from asserting any Claim against Jones, Jones’s Estate, or Jones’s assets
or property based upon any transaction or any activity of any kind that have occurred prior to the
Effective Date, during the duration of the Plan; provided, however, that holders of
Nondischargeable Claims, including the GUC Trustee, shall not be precluded or enjoined from
asserting such Claims or from pursuing collection actions against Jones or his present or future


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assets or property (other than GUC Trust Assets) with respect to such Claims, to the extent
allowable under non-bankruptcy law.

   C. Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court enters the Confirmation Order. None of the Filing of the Plan, any statement
or provision contained in the Plan or the taking of any action by the UCC with respect to the Plan
or the Specific Disclosure Statement shall be or shall be deemed to be an admission or waiver of
any rights of the UCC unless and until the Effective Date has occurred.

   D. FSS Plan

        As further described in the Specific Disclosure Statement, Confirmation of the Plan need
not determine the outcome of the FSS Case nor necessarily impair FSS’s ability to prosecute the
FSS Plan and perform thereunder if confirmed.

   E. Entire Agreement

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

   F. No Admission

      Nothing in the Plan shall be deemed to be an admission or any kind on behalf of the
UCC, any member of the Sandy Hook Families or the Debtor.

                           [Remainder of page intentionally left blank]




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                            Schedule 1

                     Sandy Hook Family Claims
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 Style name: Default Style
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 Original filename: Jones - Creditor Chapter 11 Plan of Liquidation
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 Changes:
 Add                                                            242
 Delete                                                         197
 Move From                                                      20
 Move To                                                        20
 Table Insert                                                   0
 Table Delete                                                   0
 Table moves to                                                 0
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 Embedded Graphics (Visio, ChemDraw, Images etc.)               0
 Embedded Excel                                                 0
 Format changes                                                 0
 Total Changes:                                                 479
